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 1                     IN THE UNITED STATES DISTRICT COURT FOR
 2                         THE EASTERN DISTRICT OF LOUISIANA
 3                                   AT NEW ORLEANS
 4
         DAVID, ET AL,                  *     Case No. 08-1220 Section E
 5                                      *
                       Plaintiffs,      *
 6                                      *
                 v.                     *     January 22, 2015
 7                                      *     DAY 8 - AFTERNOON SESSION
         SIGNAL INTERNATIONAL,          *
 8                                      *
                       Defendants.      *     Daily Copy Transcript
 9
         Related case:
10
         EQUAL EMPLOYMENT OPPORTUNITY    CIVIL ACTION
11       COMMISSION,
                     Plaintiff,          No. 12-557
12              v.
         SIGNAL INTERNATIONAL, LLC,      SECTION "E"
13       et al,
                     Defendants.
14       ____________________________________________________________
         Related case:
15
         LAKSHMANAN PONNAYAN ACHARI,     CIVIL ACTION
16       et al,
                     Plaintiffs,         No. 13-6218 (c/w 13-6219
17              v.                       13-6220, 13-6221, 14-732,
         SIGNAL INTERNATIONAL, LLC,      14-1818)
18       et al,
                     Defendants.         SECTION "E"
19       _________________________________________________________
         ____ Applies to David (08-1220)
20
                         TRANSCRIPT OF THE TRIAL PROCEEDINGS
21                       BEFORE THE HONORABLE SUSIE MORGAN,
                            UNITED STATES DISTRICT JUDGE,
22                                   AND A JURY.
         REPORTED BY:
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 2
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 7       ALSO PRESENT:    BHABHA PADMANABHAN, INTERPRETER
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 1                                  EXAMINATION INDEX
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                     (Through Interpreter)
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 1                              (JURY ENTERS COURTROOM.)
 2                THE COURT:    Be seated.
 3                Go ahead.
 4
 5                             DIRECT EXAMINATION RESUMED
 6       BY MS. BOUHABIB:
 7       Q.    Mr. Andrews, before our lunch break, we were talking about
 8       your housing in Dubai, and I asked you if your housing facility
 9       had anyplace to relax.
10                Do you remember that?
11       A.    Yes.    I remember.
12       Q.    Okay.    Can you describe to the jury the places you could
13       relax in Dubai?
14       A.    When I come back from work, after I take my shower and I
15       take my food, there is like -- it's not like a TV hall.            They
16       had theaters; they had two theaters which had cinemas.             And if
17       I want, I can go watch a cinema.
18                And there was a prayer room, and they had, like, nice
19       garden with all of the trees being planted there.          They had
20       enough space.
21                They had a library, if I need to read something, to get
22       some books.    They had all of these facilities there.
23       Q.    How about in your room?       Could you relax in your room?
24       A.    Yes.    In the room, there was four people in the room.          And
25       for each people -- they had four TVs.        So if you wanted to


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 1       watch your own channel, you would plug in a headphone, and then
 2       you would watch your own channel and you would relax.
 3                And even in the room, by the bed, you have a curtain.
 4       So you pull the curtain on, and so you could have your own
 5       place that you could sleep in peace without any disturbance.
 6       Q.    Okay.    Thank you.   I want to go back to the Signal man
 7       camp now.     I want the jury to get a little feel of what it was
 8       like at Signal.
 9             Were you on the day shift at Signal?
10       A.    Yes.    I was working day shift.
11       Q.    Okay.    What time did you have to get up to report to work
12       on time?
13       A.    Actually, my duties started at 7:00 a.m., but I have to
14       wake up like 4:00, 4:30-ish in the morning.
15       Q.    Why did you have to get up two and a half hours earlier
16       than your shift?
17       A.    First of all, it is only two bathrooms for 24 people.        So
18       it was very difficult to manage.       So that's why I would wake up
19       early and clear out all of my things that I need to do.
20                And then I would go outside, and I would speak on the
21       telephone.    Like after two or three weeks, they had telephones.
22       So I would call my home, and I would speak with them and I
23       would relax.
24       Q.    Who did you call at home?
25       A.    Every day, especially, I would speak with my father.         I


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 1       would speak with my wife and my children, and I would call them
 2       daily.    I would spend a lot of time.
 3       Q.      When you spoke to your family, did you tell them you were
 4       living in a room with 23 other men?
 5       A.      No.   I did not.   They would be mentally sad.     They would
 6       be worried, and so I did not want to do that.
 7                 They may think that, in Dubai, you were living in a
 8       good place; and now you are in America and you are living like
 9       this.
10                 They would be concerned and they would be worried.          So
11       I did not want them to worry.       So I did not tell them that.
12       Q.      Okay.   You started work at 7:00 a.m.     How many hours
13       usually, on a typical day, would you work?
14       A.      They had a rule that in one day you had to work ten hours.
15                 Usually, Saturday and Sunday were days off; and if
16       there is any work, then they would call for us for it.             If not,
17       then usually Saturday and Sunday are our days off.
18       Q.      Can you give the jury a sense of how physically demanding
19       ten hours of welding is?
20       A.      I have been welding for many years, and there is two kinds
21       of work you could do.
22                 One is a repairing, and the other one is shipbuilding.
23                 The new shipbuilding is very easy, but to do the
24       repairing work is very, very hard.       Very hard work.
25                 Depending on what -- I mean, in Signal, this is the


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 1       first time I'm working on something like this where every
 2       time -- all of the time when we go there, it's all -- it's
 3       filled with grease, that area, where there are chances that you
 4       may slip and fall.
 5                 It was an oil rig, and so that is why there was a lot
 6       of grease everywhere.      And it was really hard to work there.
 7                 There would be a lot of smoke, and there was a small
 8       hole.    Like it would be a big-sized -- as big as this room
 9       where we work.    But then to enter there, it would be like two,
10       two-and-a-half feet hole where we have to get in and we have to
11       take all of the cable in, and that is where we were all
12       welding.
13                 It was very hard work.     It was a very difficult job.
14       Q.      And after ten hours of welding, you'd go back to the man
15       camp?
16       A.      Yes, definitely.   After ten hours of work, I would return
17       back to man camp.     I would be very tired at the time.
18       Q.      Was there anywhere, other than your bunk bed, inside your
19       trailer where you could relax by yourself?
20       A.      That is the difference.    Any other places that I have
21       worked, if I'm -- after work, I'm very tired.         I could come
22       back from work, and I would take a shower, eat food, and I was
23       able to relax.
24                 But here, I'm lying down on the bottom one.        There
25       would be another person lying on the top.        And if he moves, I


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 1       will also be moving.     And that was very -- that was very
 2       disturbing.
 3                There was a lot of disturbance.
 4       Q.    Did Signal have a TV room?
 5       A.    Yes.    There was one TV room -- not one.      There were two TV
 6       rooms there.
 7       Q.    Could you relax in the TV room?
 8       A.    With the TV room, the reason for them to have that is,
 9       after you come back from work, you can watch a movie or
10       something and enjoy and relax.
11                But it was too difficult to do that where -- when you
12       come back to a difficult place, it was very hard to enjoy
13       watching a TV.    So I very rarely went to the TV room to see
14       anything at all.
15       Q.    How much did you pay to live in the man camp?
16       A.    I think it was, like, $35 daily.       And then, per month, it
17       was over $1,000.
18       Q.    Mr. Andrews, why didn't you leave the man camp and get an
19       apartment outside of Signal?
20       A.    Well, I would like to go live outside in an apartment.
21       But the problem there is that I did not have any vehicle, so I
22       would have difficulty going and coming back.         And then, even if
23       I go out, they were saying that they would still deduct the
24       money, somewhere around $1,050 a month.
25                So I thought that I would not solve the purpose.


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 1    There's no use going and living like that outside.
 2    Q.    Who told you that you would have to continue paying the
 3    housing fees even if you moved out?
 4    A.    When we have any problems, for myself or other coworkers
 5    who are there with me, we would go there and we would talk to,
 6    like, a supervisor there.      Like we call them, like, a camp boss
 7    who was there.    And we would talk to him about our problems,
 8    and he was the one who gave us that response.
 9    Q.    Do you remember the name of the camp boss?
10    A.    I don't remember the name.      If I look at the face, then I
11    would be able to remember the person.       But I don't remember.
12             The lady named Rhonda, she was -- there were two
13    people -- she was also there.
14    Q.    Okay.   At some point, Signal brought in extra trailers,
15    right?
16    A.    That's right.
17    Q.    Did you move to one of the new trailers?
18    A.    No, I did not move.
19    Q.    Why not?
20    A.    When -- there were 24 people initially.
21             And about six months or so after that, a lot of people
22    have left from there.     And when these people started leaving,
23    then they freed up a lot of facilities there.
24             So I think it came down to, like, 18 people or so in
25    the room.


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 1    Q.      Okay.    So some people were leaving your bunkhouse.       And at
 2    that point, you said you had around 18 people left in your
 3    bunkhouse?
 4    A.      Yes.    Yes.    I think it was load, like, 18 or 15 people in
 5    there.    And because it was very less, it was easier using
 6    bathrooms and other facilities was much more easier.
 7              Well, even if I go to the new trailer house, the
 8    bedding -- the beds are set up the same way.
 9              Even in my own, even if there's only, like, 18 or
10    15 people, the bed still was there for 24 people.
11              So that's why I was not interested in moving to another
12    room.
13    Q.      Okay.    Where had the people in your bunkhouse gone, the
14    ones that had left?
15    A.      Well, there was a person named Sabulal, and he had the
16    problem.       And after the problem is when people started leaving.
17    Then some people had moved to the newer bunkhouses.
18    Q.      Okay.    You said there was a problem with Sabulal.        Is that
19    Mr. Sabulal who testified in Court earlier in the week?
20    A.      Yes.
21    Q.      And what is the problem you were referring to?
22    A.      The problem I was referring to -- there was a lot of
23    problem that happened -- I'm not sure with Sabulal.         And the
24    problem where he cut his arm.
25            And then there was also fear for the people there at the


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 1    time as to what is going to happen to them.
 2              I think that is the reason they -- some of them left
 3    from there as well.
 4    Q.      Okay.   Let me talk to you a little bit about what happened
 5    on March 9, 2007.      Were you at the Mississippi camp on that
 6    day?
 7    A.      Yes, I was.
 8    Q.      What time did you wake up that day?
 9    A.      My regular time that I wake up, like 4:00, 4:30-ish, like
10    that.
11    Q.      At some point did you notice anything unusual at the man
12    camp?
13              MR. UNGAR:    Objection, Your Honor.    Leading.
14              THE COURT:    Could you rephrase it?
15    BY MS. BOUHABIB:
16    Q.      What did you do after you woke up?
17    A.      I saw the friend's side that there were a group of people
18    gathered together, and I thought that it happens all of the
19    time.
20              Like Sabulal always goes and complains that the food is
21    not good when we come back from work, and they have to fix
22    that, and that we were unable to sleep properly, and had to fix
23    those kind of things.
24              I thought they did something -- complaints similar to
25    that.    So I did not pay that much attention to it.       I was just


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 1    trying to get ready myself to go to work.
 2    Q.    And did you go to work that day?
 3    A.    Definitely, I went to work that day.
 4    Q.    Did you eventually return to the man camp?
 5    A.    Yes.   Only after I came back, I was told about all of
 6    these things, that Sabulal had cut his arm and that there was a
 7    security guard with the gun there, and then the police were
 8    coming and going.
 9              And I was also in fear at the time that if something
10    like this would also happen to me, and that's why I came back
11    from work that afternoon.
12              MR. UNGAR:   Objection, Your Honor.     I think what he was
13    told about an event that he didn't see, it's hearsay.
14              It's hard for me to object because of the narrative
15    nature of the response.
16              THE COURT:   So he's already answered that question.
17    I'm overruling that objection.
18              But maybe if you try to break it down into three
19    questions.
20              MS. BOUHABIB:   Do you want me to go over that again or
21    just --
22              THE COURT:   I think what you need to do is ask him
23    about his personal knowledge about that.
24              MR. UNGAR:   Thank you, Your Honor.
25    ///


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 1    BY MS. BOUHABIB:
 2    Q.    So you returned from the man camp after working that day,
 3    right?
 4    A.    Yes.    I came back in the afternoon.
 5    Q.    And what do you mean by "the afternoon"?
 6    A.    Well, from the rig, I could see the camp.        And I'm seeing
 7    all of these police vehicles coming and going there, and I'm
 8    seeing people running here and there.
 9          And I also learned that Sabulal had cut his arm like this,
10    and he was taken to the hospital.       So -- and I heard that
11    people are really tense there.      So I was also afraid that
12    something like this could happen to me as well.
13    Q.    Okay.    So you saw the police from the rig?
14    A.    Yes.    I saw the police there, and I saw people running
15    here and there.
16             And mentally I was worried what is going to happen to
17    me as well.    So I did not stay to work there.
18             So in the afternoon I returned back from work.
19    Q.    Okay.    What happened when you returned back from work?
20    A.    Well, when I came back, that is when I learned that --
21    like this, that Sabulal had been taken to the hospital, and I
22    was worried.    I was mentally affected by that, and I was
23    thinking that something like this could also happen to me.
24             And I was in fear at the time that something like this
25    also could happen to me.


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 1    Q.     Okay.    Following that event, did you stay working at
 2    Signal?
 3    A.     Yes.    I definitely -- the company had given me a promise
 4    that if I am working there and being good, if I'm working very
 5    good, then they would permanently keep me there.
 6              It's not just permanently giving me the place to live,
 7    but they would give the permanent resident visa for me to live
 8    there.    The company had promised that.
 9              So without making anything go wrong and totally fail, I
10    was following that rule, and I was going to work staying there
11    because of that.
12              That was what I believe in, and that's what I believed.
13    Q.     What did you understand had happened to Mr. Sabulal that
14    day?
15    A.     Well, I heard that Sabulal cut his arm, and only then I
16    came to know later.
17              So I returned back from work.     That's why I never
18    complained about anything.      I was bearing down everything and
19    patiently waiting.
20              I did not cause any problem or I did not complain.       I
21    was getting along with everything.
22    Q.     Okay.
23    A.     So that's why I did not complain, but then still I had the
24    fear in me that something may happen bad to me, and then also
25    that the living conditions were like this and -- but then still


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 1    the work was good, and my foreman -- I had support of the
 2    foreman.
 3             The work conditions were good, and so I had the
 4    expectation that things -- these problems would settle and
 5    everything will get better.
 6    Q.    So let's talk about the green card promise.
 7             You testified that before you left India Sachin Dewan
 8    had promised you that Signal would get you a green card, right?
 9    A.    Yes.    Definitely, Sachin said that the company would be
10    promising the green card and everything, and then only we left
11    from there.
12    Q.    After you arrived at Signal, did you ever tell anyone at
13    Signal that you had sold your land in order to pay for the
14    green card opportunity?
15    A.    Yes, I have.    The reason being there was this person,
16    Sanders or John Sanders, the camp boss, he was working for the
17    company, and he was a very good man.       I really liked him.     He
18    was a good person.
19             When we go to the church, he would -- he would call me,
20    and we would go to the church.      I liked him.    He was a very,
21    very nice person.
22             While -- during that time, I had told John Sanders
23    about all of these problems, that I had to sell my house and
24    land -- not house -- the land and the rubber -- the rubber
25    trees, about the plantation, that the way we were getting


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 1    income from that -- the assets that we had to sell to pay for
 2    this and to come here.
 3              And then I asked him if we would ever get the green
 4    card.
 5              So he said, "Yeah.    Yeah.   No problem.    Don't worry
 6    about that.      We will definitely get you the green card, not to
 7    worry."
 8              He was saying it in a very nice way, that you would get
 9    it and not to worry about it.
10    Q.      Okay.    I want to show you a picture.
11            Do you see the person that you told about selling the land
12    on this picture?
13    A.      Yes.    That is the person who I told about selling the
14    land.
15    Q.      Okay.    Thank you.
16            Do you remember when you told Mr. Sanders about selling
17    your land?
18    A.      Initially, when we came here, he was very friendly.        He
19    was the one who was there as camp boss initially in the --
20    first.
21              So I have told them that that is how we had come here,
22    that I sold the land and had to pay all of the money to come
23    here.
24              He was a very good person.      So, initially, I told him
25    this.


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 1             MS. BOUHABIB:    And I'm a little late, but let the
 2    record reflect that the witness circled the picture of John
 3    Sanders on the demonstrative.
 4    BY MS. BOUHABIB:
 5    Q.    Other than John Sanders, did anyone at Signal tell you
 6    that if you worked hard you would get a green card?
 7    A.    To John Sanders I had only told him what are the
 8    difficulties that we faced; that after enduring all the
 9    difficulties that -- how we came about here.
10          But other than John Sanders, there is one other person who
11    is here -- who had mentioned about getting the green card.
12    Q.    Who, other than John Sanders, told you that you would get
13    a green card at Signal?
14    A.    There was this big person from the company who had come to
15    the camp and with him.     Sachin Dewan was there.      Michael Pol
16    was there.    Malvern C. Burnett was there.
17             So at the camp, this big person from Signal
18    International had told us not to fear about anything.          "We will
19    get you the green card," and everything.
20    Q.    Okay.
21             MS. BOUHABIB:    Could we put that demonstrative back up?
22    BY MS. BOUHABIB:
23    Q.    Mr. Andrews, could you circle the Signal person that you
24    said told you, you could get the green card?
25    A.    Definitely this person.


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 1              MS. BOUHABIB:    Let the record reflect the witness has
 2    circled Mr. Schnoor, senior vice president at Signal.
 3    BY MS. BOUHABIB:
 4    Q.      Was anyone else there when Mr. Schnoor told you that you
 5    would get green cards?
 6    A.      Definitely, there were.
 7    Q.      Who else was there?
 8    A.      Do you want me to make a circle around everyone that was
 9    there?
10    Q.      Sure.
11    A.      This person, that person.    Other than that, those other
12    four people, I don't know who they are.
13              MS. BOUHABIB:    Let the record reflect the witness has
14    circled Darrell Snyder, John Sanders, Sachin Dewan, Malvern
15    Burnett, and Michael Pol.
16    BY MS. BOUHABIB:
17    Q.      Were there also workers present at the time?
18    A.      Yes.    Yes, it was in the mess hall where we were eating
19    food.    That's where -- the mess hall was filled with people,
20    with the workers.
21    Q.      Do you remember when this meeting happened?
22    A.      I don't correctly remember that.     I don't know if it was a
23    week before the incident with Sabulal or if it was a week after
24    the incident with Sabulal.      I don't exactly remember when it
25    was -- what the day it was.


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 1              But I remember 100 percent, with certainty, that all of
 2    these people were there, attended the meeting.
 3    Q.    Do you think it happened within the first six months of
 4    your arrival?
 5    A.    I don't exactly remember the date or the month it
 6    happened, but, approximately, I think so.        That's what I
 7    believe.
 8    Q.    Mr. Andrews, at some point, did you take a vacation from
 9    Signal?
10    A.    Definitely, I went.
11    Q.    Okay.   Where did you go?
12    A.    The reason being, the way I remember it, it was after six
13    months that this meeting had happened.
14              And then that's when I decided to go to India, because
15    in this meeting they had promised about the green card and
16    there's the reason for it.
17              In the meeting, they were saying that if you wanted to
18    go to India, you could go and come back, because the green card
19    process would take two or three years.
20              So, in my mind, I was thinking maybe I could go and
21    visit my family.    So that's why I took the vacation for a
22    month, to go and see my family.
23              So I told the company about it, and the company agreed
24    to it.    So I went on a one-month vacation to India and then
25    returned back.


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 1    Q.      Mr. Andrews, you've already testified that the living
 2    conditions in the man camp were very difficult.         Why did you
 3    come back to Signal?
 4    A.      My understanding of what you are saying, but then, still,
 5    even though I had worked here for six months, that they had
 6    paid me the salary or the money I was getting.
 7              It was only good for all of the expenses that I had to
 8    spend.    I had to spend for my father, my older brother, my
 9    younger brother, and I was unable to buy back the land that I
10    had sold.       So I did not have any other option.    I could not
11    go -- stay there.      I have to definitely come back to work here.
12              Not only that, the permanent job that I had, I had to
13    resign that to come here.       So this is the only job I had, and I
14    did not have any other way.      I had to definitely come back
15    here.
16    Q.      Mr. Andrews, I want to talk to you a little bit about the
17    food at Signal.
18    A.      Okay.
19    Q.      Did Signal provide you with meals?
20    A.      Definitely, they did.
21    Q.      Was the mess hall open 24 hours a day?
22    A.      No.   The mess hall was not open 24 hours.
23    Q.      When was it open?
24    A.      Well, they -- it was open in the morning before we went to
25    work at seven o'clock.      And then we would go to work.


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 1             And then when we come back in the evening, like about
 2    five o'clock or so, it was open from six o'clock to
 3    eight o'clock, I think, for us to take food at the time.
 4             There is -- there were three meals a day.
 5    Q.    And did the mess hall then close at the end of the
 6    dinnertime?
 7    A.    Yes, definitely.    Even the time from six o'clock to
 8    eight o'clock, or 8:30, and after that, they would close the
 9    mess hall.
10    Q.    Were there cooking facilities in the man camp that you
11    could cook your own food?
12    A.    No.    But we can all understand from what we see.       You
13    know, the room where 24 people are living, there is not even
14    space to walk or change our clothing.       And so there was no
15    place where we could cook our own food and eat.
16    Q.    So what would happen if you missed the time for a meal?
17    A.    Then you would miss your mess time.       You would not have
18    anything to eat.
19             So if you are planning to go out somewhere, that we
20    always look at these times and plan accordingly.         If not, if
21    you miss the time, then you would not get anything to eat.
22    Q.    Did you like the food served at the mess hall?
23    A.    Well, as I said earlier, my thought processes are not to
24    complain about anything, even about the food.        I wanted to be
25    there without any complaints.      I was just eating food to live.


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 1    But not that I liked the food that I ate.        So just I was eating
 2    there to live.
 3    Q.    Did you ever get sick from the food?
 4    A.    Many times I had.    There was reason to it.
 5    Q.    I'm sorry.    I didn't hear the end of that.
 6    A.    Many times I have.    There are reasons to it.
 7    Q.    Oh, there's a reason for it.      Okay.
 8          Do you want to tell us the reason?
 9    A.    The reason being that we get this food, like, 5:30 in the
10    morning to bring it to the job site.       And the job site, there
11    is no refrigerator or anything like that.
12             And during the hot times, it would be outside like
13    that, and the food would probably be prepared like the previous
14    evening.   So it would get spoiled.
15             Many, many times there are many people who were with me
16    had complained about this about the food.        The food is no good.
17             Many people had taken the food back and -- and then
18    showed them, "Sir, look at this food.       It's bad" and then had
19    thrown it out in front of them.
20             And many people had stomach problems, too, by eating
21    this food.    And many people had complained about it.       I did not
22    go and complain about this at all.
23             But I'm eating this food.      Many, many times I had
24    fallen ill.    Like that, I had stomach problems many times.
25    Q.    Did you ever go to the hospital while you were at Signal?


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 1    A.    Yes.    I have been once to see the doctor.      I had asked the
 2    doctor why I'm getting stomach pain like that.         He was saying
 3    that, "You are not eating the food with proper heat.         It could
 4    have caused this."
 5              Because of the stomach problems, many times I would not
 6    eat anything.    I would go without eating.      I would probably eat
 7    a banana or an apple.
 8              All of us eat the Indian food, right.      I would go
 9    without eating any food.
10              Because of that, I think, I had a boil or cyst on the
11    back of my body.
12              And the doctor was saying maybe it is because of the
13    body heat, that, "You have to eat proper food."         Because of the
14    problem from the stomach, it may come up like this.         So I
15    should eat regularly the food.      Then the doctor had to do
16    surgery and remove that from my back.
17    Q.    Okay.    Just to clarify, did you go to the doctor because
18    of the stomachache or because of the boil on your back?
19    A.    Well, because of the stomach problems, but because of not
20    eating the proper food and the stomach is not clear.
21              And there would be stomach pain, and there would be
22    body pain.    And it could have caused that.      And by not eating
23    properly, if it is the spoiled food, that I should not eat; I
24    should throw it away.     And if I eat it, things like this could
25    happen.   He said that.    Then he cleared it up.


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 1    Q.    Okay.    I just want to clarify that a little.      When you say
 2    "he cleared it up," what are you talking about?
 3    A.    After he asked me to follow the food practices properly,
 4    then he cleared it up.     He did the surgery and put the
 5    medicine.     And on the same day, I returned back.
 6    Q.    Okay.    So you saw a doctor.
 7             Was the doctor onsite at the man camp?
 8    A.    No.    It was in Mississippi, at Moss Point.      There was a
 9    clinic there, so I had to go out.
10    Q.    While you were at Signal, did Signal ever have a
11    doctor onsite at the man camp?
12    A.    Now, there was a little hospital.       It was a small place
13    where there was this one nurse there.       I had been there once.
14             I had dust in my eye that he poured some water and
15    removed it.    And if there is any small injuries, then you would
16    put some Band-Aid and things like that.        So there was a nurse
17    like that.
18             For anything big, like to do surgery or anything, you
19    have to go outside to the hospital.
20    Q.    Mr. Andrews, for days when you missed a meal because the
21    mess hall was closed or because you were sick and you could not
22    eat the food, does Signal still deduct money from your paycheck
23    for the food?
24             MR. UNGAR:    Objection, Your Honor.     I'm not sure he
25    said that.


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 1              THE COURT:   Well you could actually correct her if she
 2    is wrong.   Overruled.
 3              MR. UNGAR:   Thank you.
 4              THE INTERPRETER:   Could you please repeat it?
 5              MS. BOUHABIB:   You need me to repeat it.
 6    BY MS. BOUHABIB:
 7    Q.    For days when you missed a meal because the mess hall was
 8    closed or because you were sick and could not eat the food, did
 9    Signal still deduct money from your paycheck for the food?
10    A.    It does not matter if you are sick or if you are not sick
11    or if you are working or if you are not working, from the first
12    day that you arrive at the company up until the last, if you
13    you don't eat, they will just deduct your money, and that's how
14    it was.
15    Q.    I just want to go back to your testimony about the nurse
16    that you were able to see at Signal.
17              Was that a nurse who was available to the entire work
18    facility, or was it just for the man camp?
19    A.    Definitely it was for the company that they had it.            The
20    company, there were Americans; there were Indians; there were
21    Mexicans and other people.      So they just were for everybody.
22              It was -- if something small happens that they -- any
23    small injuries, that they can put some medicine on it.             It's
24    like a small clinic.
25              It's for everybody, not just for Indians.


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 1    Q.      I want to go on to security now, security at the man camp.
 2    Then I'm going to show you a picture.       It's Exhibit 1190.
 3            Mr. Andrews, can you tell what this is?
 4    A.      Yes, I can.
 5    Q.      What is it?
 6    A.      That is the security office for the man camp.
 7    Q.      Is this a picture of the man camp?
 8    A.      Yes.    This in total is the man camp.
 9    Q.      Can you circle the bunkhouse you lived in?
10    A.      That is the mess hall, and this is the Bunkhouse 1, and
11    that's where I was living in.       That is the mess hall.
12    Q.      Okay.    Can you show -- can you indicate on the screen
13    where the entrance and exit to the man camp was?
14    A.      That is the way from there.    That is the main way where
15    you come from the road, and that is the security there, and
16    that's how you enter.
17    Q.      Okay.    Was that the only entrance and exit to the man
18    camp?
19    A.      Yes.    Only that one.
20            MS. BOUHABIB:   Okay.    And let the record reflect that the
21    witness has pointed to the top left corner of the picture.
22    BY MS. BOUHABIB:
23    Q.      How many hours a day was there a security guard at the
24    security shack?
25    A.      Security was there 24 hours.    It's 24-hour security.


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 1    Q.      Do you know why the security guards were there?
 2    A.      I have told you earlier, in Dubai, if someone -- an
 3    outsider is going to come, they have to sign in and then get
 4    in.   But they had that system there.
 5              But here I don't have any relatives.      So I don't know
 6    why they had a security here.
 7    Q.      Did the security guard --
 8              THE COURT:   Let's take a break.
 9              So we will come back at 2:20.
10              Jury, remember the instructions that I have given you.
11
12                            (JURY EXITS THE ROOM)
13                            (A recess was taken.)
14                        (JURY ENTERS THE COURTROOM.)
15              THE COURT:   All right.   Be seated.
16                       Proceed.
17    BY MS. BOUHABIB:
18    Q.      Mr. Andrews, before the break, we were discussing security
19    at the man camp.     Did the security guards stop you when you
20    were leaving the man camp?
21    A.      No.
22    Q.      Did they stop you when you were coming back into the man
23    camp?
24    A.      Yes.   Definitely, they would check me.
25    Q.      What did they stop you for when you were coming back into


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 1    the man camp?
 2    A.      I don't know why, but then they would do checking.
 3    Q.      Did they check you every time you came into the man camp?
 4    A.      Definitely, they would.
 5    Q.      Were they checking your person?
 6    A.      When you are coming back from the company, they would look
 7    at your ID and things.     That, I did not have any problem with
 8    that.    That is -- normally, all of the companies do that.        But
 9    when you are going out for shopping and then when you're
10    returning back with all your personal items, then they would
11    look through your bag as to what all you brought.
12    Q.      What were they looking for in your bag?
13    A.      That thing, I still do not understand today, as to what
14    they were looking for.
15    Q.      How did it affect -- how did it affect you mentally to
16    have your belongings checked whenever you came into your home?
17    A.      Well, when you are asking about how it mentally affected,
18    usually you go out to eat food.
19              I went two or three times a week.      You go to Wal-Mart,
20    and you do Buffalo Wild Wings, and you are bringing in your
21    things.
22              And they check what you are bringing in.       And then they
23    also come to your room, and then to the bunkhouses and check
24    there as well.
25              So it makes you think that if they are thinking that we


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 1    are thieves or something like that.       And that caused some
 2    mental difficulties.
 3    Q.      Did you say the security guards also checked your
 4    bunkhouses?
 5    A.      Yes.    That is what I was referring to is that we are like
 6    thieves, that they are checking our rooms and everything like
 7    that.
 8            Well, when I'm saying about the mental difficulties, is
 9    that I have gone to many places, many countries, just for work,
10    and leaving all my family.      We had come here just for work.
11              And to come into the room and check as if we were
12    thieves, it's -- you wonder, you know, mentally, why are they
13    doing all of these things.
14    Q.      How often did they check the bunkhouses?
15    A.      There is no set time.   They could come anytime.      They
16    could come during the day; they could come during the night.
17    They could come anytime to check.       There is no set times.
18    Q.      Do you know what they were looking for in the bunkhouses?
19    A.      I don't know that.   I don't even know why they came in.
20    Q.      Okay.    I think you also said that sometimes you went to
21    Buffalo Wild Wings; is that right?
22    A.      Well, when that doctor said that it's because of the bad
23    food we were eating, and then you go to outside to eat some
24    food, occasionally.      And that, too, is always like company to
25    Wal-Mart and Wal-Mart to company.       And then next to Wal-Mart


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 1    was the Radio Shack.     And after Radio Shack was the Buffalo
 2    Wings.    So I would eat some there, and then I would pack some
 3    to bring with me.
 4    Q.      Okay.   How would you get to the Buffalo Wild Wings?
 5    A.      They had this minibus from the company.      They had a set
 6    time.    So you go to the Wal-Mart,.      And from Wal-Mart, you
 7    could walk.      It was very close to Wal-Mart.
 8    Q.      Okay.   Were you able to ask Signal to take you wherever
 9    you wanted in the company bus?
10    A.      Not that I could go anywhere I want.      It's only to one
11    place:    company to Wal-Mart and Wal-Mart to company.
12    Q.      Eventually, did you buy a car, Mr. Andrews?
13    A.      I don't remember the exact date.     It's about ten months or
14    so, I think.     I'm not sure.
15              I think it's towards the end of 2007, I think, I
16    believe I bought the car.
17    Q.      Was it a new car?
18    A.      No.   It was a used car.
19    Q.      How much did the car cost?
20    A.      Well, as I said earlier, I really wanted to see America
21    privately.      And with them taking me to Wal-Mart and back, I
22    could not see anywhere else.
23              So I was very eager to see what is out there in
24    America.      That's one reason why I bought it.    There are other
25    reasons, too.


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 1             But if there's any time, I can tell more about it.        But
 2    that is the reason why I had some other friends put in some
 3    money and then we bought the car.
 4    Q.    Okay.    How much did the car cost?
 5    A.    Well, I borrowed some money from the friends, and then I
 6    had $3,000.    I collected $3,000, and I had to go to Toyota
 7    Finance, Toyota showroom.      And then I had to deposit this
 8    3,000, ask them -- get a loan to buy the car.
 9    Q.    Okay.    So just to clarify, you paid 3,000 of the down
10    payment?
11    A.    Yes.
12    Q.    You borrowed money from friends to help pay that down
13    payment?
14    A.    Yes.    Ever since we had come to the company, there were
15    some friends where we would give money to each other and get
16    money from each other.     So we were rolling the funds like that.
17    And so I had borrowed some money.       I paid them back, too.
18    Q.    Okay.    And I think I interrupted you earlier.      You were
19    telling why you bought the car.
20    A.    Well, as I said earlier, to come to America was my dream.
21    And that I can bring in my family, too, that was also my dream.
22             They were also saying that they will bring with me --
23    bring my permanent residency, here.       So for the reasons that
24    I'm going to be permanently, then I need a car.         So that's why
25    I was buying a car.


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 1              Then, also, the other reason was that if I need to go
 2    anywhere privately to see anything, then I could go on my own
 3    self.    So that was also another reason.
 4    Q.      Okay.   Did you go anywhere with the car?
 5    A.      Yes, definitely.   When I had the Christmas vacation, I had
 6    taken some of my friends to Disney World in Florida and that
 7    was a very happy moment for me.
 8    Q.      Okay.   Mr. Andrews, I want to talk to you about your work
 9    at Signal.      Leaving the housing conditions aside, did you like
10    your work at Signal?
11    A.      I always respect my work, and I take pride in my work, and
12    I am always interested in doing my work.        So always I had
13    enjoyed working there.
14    Q.      Were you a good worker?
15    A.      Rather than me telling about myself as a good worker,
16    others should be the one who should be saying that.
17              My foreman and other people have always said that I'm a
18    good worker.
19    Q.      Do you remember your foreman's name?
20    A.      Yes, definitely.   Even though I had worked in many
21    companies and other places, I still remembered this person.           I
22    also wanted to see him.     His name is Gab Branson.      And then
23    there is another person, who's Tony Markin.
24            The reason being for that is that even though I only speak
25    a little bit English, they -- related to work, 90 percent of


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 1    what I think, I totally understand.
 2             And we were a good company together.       When I'm saying
 3    "company," we were very good friends.
 4             So there was no problem with the company.        We were
 5    working together very well, and we were getting by.
 6    Q.    Okay.    Let me show you Exhibit 131.
 7          Do you recognize this, Mr. Andrews?
 8    A.    Yes.    I know that.
 9    Q.    Can you tell us what it is?
10    A.    It shows what is my wage and the wage rate.
11    Q.    And in the area where it says "pay rate," can you read
12    what it says on the left, pay rate?
13    A.    Yes.    $18 per hour, $18.
14    Q.    And on the right side at the pay rate, can you read what
15    that says?
16    A.    Yes, definitely.    They had raised the rate to $18.75.
17    Q.    So this document reflects a raise you received at Signal?
18    A.    Definitely, yes.
19    Q.    What is the date on this document?
20    A.    It's written there as 11/29/06.
21    Q.    Is that about a month after you arrived?
22    A.    Yes.
23    Q.    In the comment section, it says, "Andrews is a good hand.
24    He's very helpful by interpreting for me.        Does a good job on
25    whatever I ask of him.       Is just a good" -- "all-around good


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 1    hand" -- "is just an all-around good hand."
 2            Is that right?
 3    A.      Definitely.
 4              MS. BOUHABIB:    Okay.   We can take it down.
 5    BY MS. BOUHABIB:
 6    Q.      Mr. Andrews, at some point in Signal, did you get any
 7    written warnings?
 8    A.      Not just one.    I think I got, like, two or something like
 9    that.
10    Q.      Okay.    Do you remember what your first written warning
11    was?
12    A.      The one I remember, when I went to India and then came
13    back, I started getting these warnings.
14    Q.      Okay.    Let's look at Exhibit 1663.
15            Do you recognize this document?
16    A.      Yes, I remember.
17    Q.      Is this the document you were referencing that reflects a
18    written warning you got after you got back from India?
19    A.      Yes.
20    Q.      Okay.    And in the comment section, it says, "Lack of
21    quantity, was told he needed to step it up a notch or other
22    actions will be taken up to termination"?
23    A.      Yes.    I took it like that.
24    Q.      Do you know what "lack of quantity" means?
25    A.      Well, from this question, I remember what this paper is


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 1    about.    I could tell you the insert, but I don't know if you
 2    have time.     Maybe I could be brief about explaining it?
 3    Q.      Could you give us a brief explanation?
 4    A.      Definitely, yes.   When I came back from India, all the
 5    company had different way of approaching.        They were asking us
 6    to do a lot more work.     They would ask to do three or four
 7    jobs.
 8            When I see a mistake in the job, then I would tell the
 9    foreman that, if a job takes five minutes, then this job may
10    take ten minutes because of these reasons.
11            Then -- when I was saying that, you know, the fitting
12    would come with some gap in it, and so I would call the foreman
13    and tell him that to fix this I would need more time.
14            And the foreman would say, "I understand what you are
15    saying, but I'm getting pressure from top above that you need
16    to do this very quickly."
17            I have always tried to work faster and be quicker.         I was
18    able to manage like that at the company.
19    Q.      Was this your first written warning?
20    A.      Yes.   Definitely, yes.
21    Q.      And the consequences here say that you could be
22    terminated?
23    A.      Yes.   During that time, it was also -- mentally and
24    emotionally it was affecting me.
25              If they are going to be sending me back to India, then


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 1    what would I be doing?     They told me they will give permanent
 2    status here, that I could be here.       And what would I be doing
 3    if I'm returned back to India?
 4              So at that time, I had this mental and emotional stress
 5    for me.
 6              The reason I had all of this tension is because my
 7    family, everyone in my family, they are all depending on me
 8    from the money that I was making from this work and the money
 9    that I was sending back home.      They were depending on this.
10              The food, the clothing that they buy, everything that I
11    have, to pay for it.     So that's the reason why I was mentally
12    tense as well when I saw this.
13    Q.    Mr. Andrews, did you ever get any more warnings about the
14    lack of quantity?
15    A.    Definitely.   The more -- it's correct that I was earning
16    more here, but then also I lost a lot more here as well.
17    Q.    Did you ever get -- did your foreman ever talk to you
18    about lack of quantity again?
19    A.    Yes.   As I said, you know, the foreman was a good person,
20    and he knows that I had -- these many years of work experience,
21    and he also had experience.
22              So he will tell me, "Andrews, I understand what you are
23    saying.   But from top above and getting all this pressure that
24    you have to work fast.     What can I do."
25              As I said earlier, you know, he was a very good


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 1    foreman, but he was getting pressure from top above.
 2             THE COURT:    Just a second.
 3             MR. UNGAR:    Again, Your Honor, I'm still concerned
 4    about the narrative nature of the responses.        I don't know if
 5    hearsay has been coming out.      I can't object.    It's hard for me
 6    to do that when they are so long.       I'm concerned.
 7             THE COURT:    Counsel is going to try to ask him specific
 8    questions, but it's a little -- you understand the difficulty
 9    we are having.
10             MR. UNGAR:    I do, Your Honor.
11    BY MS. BOUHABIB:
12    Q.    Okay.   Mr. Andrews, I'm just going to remind you to try to
13    listen to my question and answer specifically.         And I'll ask
14    the follow-up questions.
15    A.    Okay.   Definitely.
16    Q.    I want to show you one more document, which is 1578.
17          Do you recognize this document?
18    A.    Yes, I remember it.
19    Q.    And under the "Reason For Change" in the middle of the
20    page, it says, "Rolling up at 4:30 on 7/25/07.         Next will be
21    three-day layoff."
22          Can you briefly explain what the term "rolling up" means?
23    A.    Well, what they are saying is -- rolling up is, if I had
24    taken some cable or some equipment, and you put them back and
25    you clean the area you worked in and you do some housekeeping.


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 1    That is what they call them as well, rolling up.
 2    Q.      Okay.    So when it says "rolling up at 4:30," can you
 3    briefly tell us what that means?
 4    A.      I wanted to give you some explanation on that.       I always
 5    follow all of the rules.      Depending upon the safety, I do
 6    follow all of the safety rules.
 7            So the first thing is safety first, but they should not be
 8    any endangerment to humans.      There should not be danger caused
 9    to the coworker.      There should not be any accidents happening
10    at that place.
11              So the first thing that I would pay attention is for
12    the safety to avoid any dangers.
13              I have already indicated that the place that we worked
14    had a lot of grease there.      So before I start the work area, I
15    would clean that.      I was to -- towards the end, I would also
16    clean that.      I worked the day shift.   So by the time my shift
17    ended, I would clean up the area, prepare it for night shift so
18    they don't have any accidents.
19              And maybe I made a mistake there at the time.        I'm not
20    sure.    I rolled up a little bit early, and I was not staying
21    idle.    I was not working at the time.     I was cleaning the area.
22    I was cleaning up the area for the other people that would be
23    coming to work at that time.      I was doing it for the company,
24    and I was not doing -- I was not standing idle without doing
25    anything.       I was just cleaning up.


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 1    Q.      Okay.    Let me direct you to the chart that is right below
 2    comments, "Other/Comments," where there is a column that says,
 3    "Factors, Job Performance, Attendance, Attitude, Safety
 4    Habits."
 5              Do you see in this chart where the checks are?
 6    A.      Yes, I understood that.
 7    Q.      Okay.    Can you tell me what it says in the column where
 8    the checks are?
 9    A.      Yes.    It says it's good.   That's the choice.
10    Q.      Did you ever get any other warnings about rolling up
11    early?
12    A.      Well, I had some difficulties emotionally, because I was
13    doing some good things and I got this warning.         But they said
14    that I should not be repeating this again, so I did not repeat
15    that.    But I was emotionally upset that I got this, and I have
16    never gotten one again like this.
17    Q.      And for the rest of your time at Signal, did you stay on
18    good terms with your foreman, Mr. Branson?
19    A.      Yes, definitely.   He knows that I'm a good worker and it
20    was because of the pressure from top, above.        And even today,
21    I'm friendly with them.
22    Q.      Okay.    Mr. Andrews, earlier you testified that at some
23    point within the first six months of arriving at Signal, Signal
24    represented and told the workers that if you worked hard, you
25    would get a green card, right?


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 1    A.      I cannot give you a date as to if it was within the six
 2    months or something like that.      But there was three people who
 3    were there.      The company's main person and Sachin Dewan and
 4    these three people, they were there.         And I'm openly telling
 5    you now how they said, 100 percent sure, that they will get the
 6    green cards.      And I don't remember the date, if you're asking
 7    me the date.
 8    Q.      Okay.    So you don't remember the date, but you remember
 9    being told that they would get you green cards if you worked
10    hard?
11    A.      Yes, definitely.   And one other thing, too.     After this
12    meeting that they said, I know about this person who I met
13    initially, Malvern C. Burnett, so and I had come to New Orleans
14    to resolve this.
15              And I had spoken to him, and he said, yes, the
16    company -- do your hard work and Signal will definitely get you
17    the green card.      He had said that, and looking at my face.
18    Q.      Okay.    Was it your understanding that the green card would
19    come after two or three extensions of the H-2B visa?
20    A.      Yes.    That's what they had said.
21    Q.      Did Signal, in fact, extend your H-2B visa?
22    A.      Yes.    After ten months, they had extended my visa.
23    Q.      Did Signal sponsor you for a green card?
24    A.      I don't know if they did or not, but that's what they
25    said.


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 1              They had said that you would be given a visa for ten
 2    months.    And after that, we would renew it once, and then we
 3    will renew it again.     And then at that time, you will take your
 4    permanent residency.     That's what they said.
 5              One thing I want to clarify there is that the first ten
 6    months was for the H-2B visa, and then they would renew that,
 7    and then they would get the permanent residency.         That's what
 8    they said.
 9    Q.    Okay.    And you got the first extension, right?
10    A.    Yes, ma'am.
11    Q.    At some point, did a Signal representative tell the
12    workers that Signal would not be sponsoring them for green
13    cards?
14    A.    Yes.    I think.   I had renewed once.    I think like after
15    16 months, after I had gone to India and then I'd come back.
16    After the six months, that is when the problems were there
17    where they said they'd renewed it once, the visa, and then it
18    came time for the second renewal.
19              I think that's when they said that they cannot renew
20    it, that they are not going to sponsor.        That's what they said,
21    I think.
22              That's when they are saying they cannot renew it.         The
23    second time, that's when they are saying that.         "We cannot
24    process your permanent residence visa or we cannot do anything
25    for you."     That's when they were saying that.


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 1    Q.    Okay.   Who told you that Signal would not sponsor the
 2    workers for green cards?
 3    A.    Well, if we have any problems at the camp, we would have a
 4    meeting with the camp boss.      In the lunchroom, we would gather
 5    together and we'd have the meeting.       In one of these meetings
 6    is where we were told about the green card, that they were
 7    saying that if you are coming on H-2B visa, then we could not
 8    apply for your green card.
 9          So up until that time, they were saying that, "We will
10    give you a green card.     We will give you" -- then, but we did
11    not expect this thing, toward the end, when they said they
12    could not do it.
13    Q.    Okay.   Do you remember about when this meeting occurred?
14    A.    I cannot give you a correct date, but I think it was
15    sometime in December of 2007.
16    Q.    Okay.   Did you say it was a meeting?
17    A.    Well, when -- after the meeting, too, I had asked in
18    person, too, the camp boss that was there at the time who was
19    in the picture here.
20             And then, also, after that, there was this lady,
21    Rhonda, who had a small office.      And I had asked her, too.
22    "Madam, it's very difficult that we had to spend all of this
23    money to come here.     And can we get our green card."
24             And that's the time where she also said, "No.         We
25    cannot apply for your green card.       And that's -- I don't know


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 1    what I could do.    We don't know what -- I don't know what I
 2    could do.     It is what -- the instructions I got from top,
 3    above."
 4    Q.    Let me show you a picture.      Okay.   Who was the camp boss
 5    you just mentioned, who told you that?
 6    A.    During the meeting, this is the person who told me that.
 7    Q.    Okay.
 8              MS. BOUHABIB:   Let the record reflect the witness has
 9    circled Darrell Snyder.
10    BY MS. BOUHABIB:
11    Q.    Mr. Andrews, did you leave Signal after you found out they
12    would not be sponsoring you for a green card?
13    A.    Yes, ma'am.
14    Q.    How did you feel when they told you you would not be
15    getting the green card?
16    A.    Well, definitely, that these people made all of these
17    promises they gave, they would give me.        Sachin Dewan, Michael
18    Pol, and Malvern Burnett, everybody, they -- who had -- what I
19    feel is that they had defrauded me.       They had cheated me.
20          And I just wanted to remind this thing:        That even though
21    Sachin Dewan had told us all these things, he had come here, to
22    Signal International, and met with all of the management and
23    then had explained all of these things to them and was told
24    they were going to take care of you, it's their responsibility.
25    And he returned back from here happily.        So it should be Signal


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 1    International's responsibility to have done this.
 2          So I personally feel that Signal International is the one
 3    who had cheated me without giving me the green card.
 4          Among all of us, if there is a person that is 80 or
 5    84 years old, they could probably understand this.         My father
 6    was -- he's that old.
 7              And I had borrowed money from him to have to come here.
 8    And up until now, I have not told him about all of these
 9    problems that I'm going through.       Because of all of the
10    expectations I had, that I don't want to do this to him.
11              So even now, I don't want anything like this to be
12    happening to anybody else in the future.
13              If -- until today I've not told my father, informed my
14    father of this.    I have lived in the bunkhouse like that.        I
15    have lived in difficult situations.       I never informed my
16    family.   I never told my wife about it.       I never informed my
17    children of this.
18              Until today, I have not told anything to any other
19    person about all of the difficulties that I had.
20              In the future, I don't want anybody to go through these
21    same problems.
22              I had to say Signal was a big part of this.
23    Q.    Thank you, Mr. Andrews.
24              MS. BOUHABIB:   I have no further questions.
25              THE COURT:   Let's take a break, a ten-minute break.


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 1    And we will start back at 3:30.
 2                       (JURY EXITS THE COURTROOM.)
 3             THE COURT:    Will the people that are going to discuss
 4    the Mehta and Mehta/Mowl objections be here at the next break,
 5    if we take one, around 4:30?
 6             MR. HOWARD:    I could get Mr. Sandler back.      He's
 7    coming, anyway, at 5:00 for the charging conference.
 8             THE COURT:    The charging conference is at 5:30.
 9             MR. HOWARD:    Well, he's going to come at 5:00, so I'll
10    ask him to be here at 4:30.
11             THE COURT:    Okay.   So when we take our 4:30 break, I
12    want whoever is going to argue about those objections to be
13    here, ready to go.
14             MR. BHATNAGAR:    Your Honor, if I may, one little
15    housekeeping on the Pol designations.
16             As you've requested, we have come to an agreement, all
17    parties, regarding the time allocation.
18             THE COURT:    On the Pol?
19             MR. BHATNAGAR:    On the Pol designations, yes, ma'am.
20             For Pol, the parties have agreed to split the time
21    allocation three ways:     40 percent for Signal, 40 percent for
22    plaintiffs, and 20 percent for Mr. Burnett.
23             And for the John Sanders' designation, plaintiffs and
24    Signal have agreed to split it 50/50.
25             And, Your Honor, I also have a copy of a description


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 1    of -- a neutral description of Michael Pol that all parties
 2    have agreed to as well as a sentence which explains why
 3    plaintiffs will be reading the designations for all three
 4    parties for Your Honor as well.
 5              THE COURT:   Thank you.   So you can give that to me, and
 6    I'll have it ready when you need it.
 7              MR. BHATNAGAR:    Yes, Your Honor.
 8              THE COURT:   Thank you.
 9              MR. UNGAR:   Is it okay if I set up now so we're ready
10    to go?
11              THE COURT:   Yes, absolutely.
12              MR. UNGAR:   Thanks, Judge.
13                             (A recess was taken.)
14              THE COURT:   Wait a second.
15              MS. GRAUNKE:    I apologize.   Mr. Werner is going to be
16    absent from counsel table for the next round.        He is
17    unfortunately feeling unwell.
18              THE COURT:   Okay.   So someone has taken over his
19    duties?
20              MS. GRAUNKE:    Sure.
21              THE COURT:   Okay.   Now we're ready.
22
23                        (JURY ENTERS THE COURTROOM.)
24
25              THE COURT:   All right.   Have a seat.


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 1             MR. UNGAR:    Thank you, Your Honor.
 2
 3                              CROSS-EXAMINATION
 4    BY MR. UNGAR:
 5    Q.    Mr. Andrews, my name is Hal Ungar.       I represent Signal.
 6    We met at your deposition last year.
 7    A.    Yes, definitely.    I remember.
 8    Q.    Okay.    To pay the recruitment fees that you were talking
 9    about today, you sold land?      Yes or no.
10    A.    Yes.
11    Q.    And you sold that land when you were recruiting to work
12    for J&M?     Yes or no.
13             THE COURT:    Mr. Ungar.   Mr. Ungar, I don't want you to
14    do that at the end of each question.       So just ask the question.
15             MR. UNGAR:    Okay.
16    BY MR. UNGAR:
17    Q.    And you sold that land when you were recruiting to work
18    for J&M?
19    A.    Yes.
20    Q.    You sold that land before you ever heard the name Signal?
21    A.    Yes.
22    Q.    That was in 2004?
23    A.    Yes.
24    Q.    In 2004, it had been a long time where you had felt that
25    it was your dream to live in America?


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 1    A.    There is wrong in that one.
 2    Q.    It was your dream since childhood to live in America?
 3    A.    Definitely.
 4    Q.    All right.    Now, you don't know if Signal knew about your
 5    earlier J&M recruit.
 6    A.    That's right.
 7    Q.    Signal is not responsible for the promises that were made
 8    to you about the J&M recruitment?
 9             MS. BOUHABIB:    Object.   Asking for a legal conclusion.
10             MR. SHAPIRO:    I join.
11             THE COURT:    I'm sorry.   Could you --
12             MS. BOUHABIB:    Asking for a legal conclusion.
13             THE COURT:    Sustained.
14    BY MR. UNGAR:
15    Q.    You don't know if Signal authorized any of the promises
16    made to you by J&M?
17    A.    Well, when I was selling my land, I was hearing the words
18    for J&M.     And then only towards the end, while I was making the
19    final payment for J&M, that I'm hearing about Signal.
20    Q.    You heard about Signal a couple of weeks before you came
21    to Signal?
22    A.    Definitely.
23    Q.    A little bit before your consulate interview?
24    A.    Yes.
25    Q.    Let's go back a moment to 2004 when you sold the land.


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 1    When you sold the land, did you know you were recruiting for
 2    J&M?
 3    A.     As I said earlier, that is correct.
 4    Q.     You did know.
 5    A.     Definitely I knew.
 6    Q.     Okay.    Were you told before you sold the land how much
 7    money you would earn at J&M?
 8    A.     Yes.    We had an agreement.
 9    Q.     Okay.    Now, when we're talking about promises made to you
10    about J&M, can you list for me again the names of the people
11    that made those promises?
12    A.     Are you asking about the people that I paid money to?
13    Q.     I'm wondering if you could name for me the people that
14    made promises to you about the J&M recruitment.
15             Just list their names, if you can.       And then I will ask
16    you a question about it right after.
17    A.     Definitely I can.
18    Q.     Go ahead.
19    A.     The first is Sachin Dewan.     Next is Michael Pol,
20    Malvern C. Burnett.
21    Q.     Those three people told you in April of 2004 that within
22    two years you would get a green card?
23    A.     Yes.
24    Q.     Nobody from Signal in 2004 told you that within two years
25    you would get a green card?


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 1    A.      They have not said that.
 2    Q.      In fact, the first time you ever met an employee of Signal
 3    was in America?
 4    A.      What did you say earlier about the first time I'm seeing
 5    an employee?
 6    Q.      I will repeat the question.
 7            The first time you ever met a Signal employee was in
 8    America.
 9    A.      Yes.
10    Q.      You took no skills test prior to coming to work for Signal
11    to prove your skill?
12    A.      For Signal's skill test, after I came to Signal, there was
13    skill tests done here.
14    Q.      That's right.   The first time you ever tested for Signal
15    was in America?
16    A.      There is the reason for it.
17    Q.      If your lawyers are arguing that you and your fellow
18    coworkers were tested once abroad and then tested again in the
19    United States, that is not true with respect to you?
20    A.      I was working for a very respected company, a very good
21    company, a very well-known company in Dubai.
22              Because I was working for that company, these
23    recruiters they said that I would not need certification from
24    them.
25    Q.      Who told you that you didn't have to test before you came


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 1    to Signal?
 2    A.      Sachin Dewan told me that the certificate showing that I
 3    was working for the company and I had a card that shows three
 4    years of work experience there.
 5    Q.      You knew of other coworkers that ultimately worked at
 6    Signal, that, like you, were never tested abroad before they
 7    came to the United States, right?
 8    A.      I don't know about other people.     If you are asking
 9    anything about me, I am okay to give a reply to that.
10    Q.      Now, the two years that you thought it would take to get
11    the green card with J&M, that period started to run in April of
12    2004.
13    A.      Yes.
14    Q.      In fact, you thought you would get a work permit within
15    six months of April 2004, right?
16    A.      Well, the thing is that I don't know anything about green
17    card or H-2B visa or anything of that nature.        Whatever they
18    were saying, I would just say, "Yes."
19              The main thing that they have told me is that within
20    two years that I would be able to go to America.
21    Q.      That promise was April of 2004.
22    A.      Definitely.
23    Q.      That's the promise that was made by Michael Pol, Malvern
24    Burnett, and Sachin Dewan.
25    A.      Definitely.


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 1    Q.      It's not a Signal promise.
 2    A.      After I came here, Signal promised.
 3    Q.      Okay.   We'll talk about that in a moment.
 4            Now, you said a minute ago that you didn't know anything
 5    about the work permit or the green card; you were just trusting
 6    what you were being told.
 7    A.      What I was saying is that about getting that green card
 8    within two years.      I would not know how long the time it would
 9    take for getting work permit and green card and things like
10    that.
11    Q.      Now, you had a lot of experience working in other
12    countries before you came to work for Signal.
13    A.      Yes, definitely.    Yes.
14              MR. UNGAR:    Sorry, Judge.
15    BY MR. UNGAR:
16    Q.      Excuse me.
17            You worked in Dubai.
18    A.      Definitely, I worked there.
19    Q.      In Dubai, you were working on a work visa.
20    A.      Yes.
21    Q.      Sponsored by your employer.
22    A.      Yes.
23    Q.      You knew that that meant that you could only work for the
24    Signal employer in Dubai?
25    A.      Definitely.


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 1    Q.    Same thing in Bahrain.
 2    A.    Yes.
 3    Q.    Same thing in Qatar.
 4    A.    Yes.
 5    Q.    And you knew all of this at the time that you were working
 6    in those places.
 7    A.    Definitely, I knew.
 8    Q.    You worked at all of those places before you came to
 9    Signal.
10    A.    Definitely.
11    Q.    But you're saying you didn't understand the work visa you
12    came to Signal on?
13    A.    There are two different things.      There's a difference with
14    the visa in Gulf and then the green card in America is
15    different.
16    Q.    Now, in 2004, when Pol and Burnett and Dewan were talking
17    to you about the J&M recruitment, you were -- it was explained
18    to you that the green card process was three steps, right?
19    A.    Definitely, they said that like that.
20    Q.    You knew that because they explained it to you.
21    A.    They said that after six months you'd get your work
22    permit.   And then after that, there would be green card
23    processing.
24    Q.    Right.   And the first step of the green card process, they
25    didn't tell you that that occurred or was approved until


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 1    January of 2006, right?
 2             THE INTERPRETER:      Could you restate that?
 3             MR. UNGAR:    Sure.    Yeah.
 4    BY MR. UNGAR:
 5    Q.    The first step of the three-step process, you were not
 6    informed until January of 2006 that that step was accomplished.
 7    A.    Yes.
 8    Q.    All right.    So that's almost the entire two-year period,
 9    and you're only at step one.
10    A.    Well, what I said is exactly correct.
11    Q.    And your response to that long period of time before step
12    one was to pay these men more money.
13    A.    They follow step by step.         That when you agree to
14    participate in this, you give first payment.
15             And then when you get your work permit, then you make
16    the second payment.
17             And then, towards the end, that's when you pay the last
18    payment, and that's the third payment.
19    Q.    So you thought you would be making your second payment
20    within six months.     And, instead, you made your second payment
21    within 21 months?
22    A.    Yes.
23    Q.    You, nonetheless, continued to trust Pol, Burnett, and
24    Dewan.
25    A.    Because I was in a situation that I could not have done


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 1    anything else other than to trust them.
 2    Q.      You didn't ask for your money back.
 3    A.      As I said earlier, if I were -- after two years, if I am
 4    getting this money back, I would not be able to buy my land
 5    back.    Because the land price have gone like three or four
 6    times more than what it was.
 7    Q.      The entire time that you were recruiting to come to the
 8    United States, you never once asked Sachin Dewan or Malvern
 9    Burnett or Michael Pol for a refund.       Never.
10    A.      They had only made all of these promises, and I was
11    thinking that -- because of these promises, I sold this land.
12              And I was expecting that it to be today or tomorrow
13    that I would be getting these things.       And if I take the money
14    back from Michael Pol or Malvern C. Burnett, I would not
15    still be able -- would not be able to get my land back because
16    of the price have gone up.
17    Q.      You haven't answered my question.     My question is, you
18    never asked for a refund.
19    A.      Yes.   Because of this reason, I did not ask for it.
20    Q.      Now, sitting here today, you understand that green card
21    applications could be denied.
22    A.      They could be denying it.    I don't know about them.      But
23    they -- these people have made all of these promises, so I
24    don't know anything about those things.
25    Q.      So you are saying that, sitting here today, you don't


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 1    understand that green cards applications could be denied?
 2    A.    Well, what was told to us was that, within about 30 months
 3    or so, Signal International will be processing a green card.
 4    And Signal International directly told us that they would get
 5    us the green card.     And we don't have to worry about when or
 6    how they would be -- where they would be processing and giving
 7    us the green card.
 8    Q.    You knew, in 2004, that green card applications could be
 9    denied.
10    A.    I'm not understanding when you're saying "denied."           Nobody
11    had told me that I got denied.
12    Q.    You knew there was a chance you wouldn't get permanent
13    residence status at all.     As far back as 2004, you knew that.
14    A.    Well, first of all, since I rely on all of these people,
15    knowingly cheated me for six months or so.        They have sent me
16    letters saying that I got permanent residence authorization or
17    work permit or something like that.
18              Only after coming here, I came to know that they have
19    not even applied for something like that.        And how could I
20    trust what these people were saying.
21    Q.    Signal didn't do that to you.
22    A.    Since Signal had told us, after we came here, that "You
23    are on H-2B visa.    We will do it for you.      You do your work
24    good, you do a better job, and we will get you permanent
25    residency."   They did not say anything about work permit.


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 1    Q.      You -- we'll talk about that in a moment.      I'm still --
 2    I'm still on the J&M recruiting, which was before Signal.
 3            My question is, during that recruitment, you would call
 4    Dewan Consultants a lot for updates.
 5    A.      Definitely, I have called.
 6    Q.      You were calling them because they were keeping you in the
 7    dark about what was going on.
 8    A.      Here is -- the reason was that I am selling my father's
 9    land.    And so my father was asking all of the time what had
10    happened, what had happened.      So this is why I have to call and
11    ask them, so that I could tell my father that things are
12    getting processed.      So that's why.
13    Q.      Sometimes when you would call Buruna or Mannish Dewan,
14    they would tell you things that you thought were kind of --
15    sounded like excuses.
16    A.      Well, never.    But the reason was that to have a mental
17    peace for myself and for my father to have some mental peace.
18    That's why we are calling all the time.
19              They had given a time duration of two years.        So we
20    called and asked them what had happened, where is it now.
21    Q.      All of that was before Signal?
22    A.      Definitely, yes.
23    Q.      All right.    After you paid your second -- when you paid
24    your second installment -- so that's like January 2006, right?
25    A.      I don't know the exact date.     But if you look at the


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 1    documents, then I would be able to know.        But I had made the
 2    second installment payment.
 3    Q.    You were told at the time that you made the second
 4    installment payment that you would expect -- you should expect
 5    a green card by October of 2006, right?
 6    A.    Definitely, yes.
 7    Q.    All right.    You don't know if Signal authorized that
 8    promise, because that was through J&M recruitment.
 9    A.    Definitely, yes.    It was, yes.
10    Q.    Eventually, you learned about Signal.
11    A.    Yes.   That's when Sachin Dewan was saying that "You are
12    going for Signal International."       And then, again, he had come
13    here and told that Signal will be processing everything for us.
14    Q.    I think that you testified that you received a phone call
15    from some of your friends that were telling you that the work
16    permits were ready, which is why you called Dewan Consultants,
17    which is how you ultimately found out about Signal.
18    A.    I think maybe you heard me wrong.
19             When I had come back from Dubai, my friends had told me
20    that there is a visa had come to go to America and I should
21    contact the office as quickly as possible.
22    Q.    And you came to find out that that was the H-2B visa and
23    the Signal opportunity.
24    A.    Yes.   Once I go on H-2B visa over there, then they would
25    process the permanent residency, they said.


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 1    Q.    And you understood -- it was your understanding that the
 2    permanent residency that was going to be processed by Signal
 3    would start anew for you after you got to the United States?
 4    A.    Yes.
 5    Q.    You were abandoning your J&M green card recruitment.
 6    A.    No, I did not.    But it was Sachin Dewan who said that
 7    "Forget about J&M and go in for Signal International on this
 8    visa for ten months.     And then they would renew for more ten
 9    months, and then they will process the green card.         So you
10    would be able to live there for good.       And you would be able to
11    get these -- all of these processes done over there."
12    Q.    Okay.    After you found out about Signal, you made another
13    recruitment fee payment.
14    A.    It's not something that separate payment.        It is part of
15    the three steps.    That the first two payments that I paid,
16    that's the balance, and that I need to pay the last payment.
17    Q.    The last payment, though, the timing of it was after you
18    had learned about Signal.
19    A.    Yes.    What Sachin Dewan was saying was that all of these
20    three payments you were making is for going over there.            And
21    you heard about J&M now.     You are going to Signal International
22    there, and they will do the rest of the things.
23    Q.    Before you made that last payment, you got a letter that
24    talked about Signal, which your lawyer showed you earlier.
25    A.    I had received a letter.     I don't know if I got it over


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 1    there or after I came here.      I did receive a letter.
 2    Q.    Let's take a look at Exhibit 0034.
 3          This is the letter that I'm asking you to confirm for me
 4    that you got before you made the last fee payment that is
 5    actually described in the letter.
 6    A.    Maybe I heard it wrong.     It was not Signal International
 7    that gave this letter.     It is Dewan Consultants that I gave
 8    this letter.
 9              So I remember getting a letter from Signal
10    International, maybe after I came here or while I was over
11    there.
12    Q.    And the letter we're looking at now, Dewan Consultants
13    gave you this letter before you made your last fee payment.
14    A.    Definitely, I understood that now.
15    Q.    Do you see where it says right here, "Food and
16    accommodation" -- "Food and accommodation on salary reduction
17    basis."
18          Go ahead.   Go ahead.
19    A.    Definitely it says that.
20    Q.    Right.   You were told this before you made any fee
21    payments after hearing the name Signal.
22    A.    No.   One thing I wanted to remind here is that I've not
23    read any letters at all from the beginning.
24              They would show me and asked me to sign there, and I
25    would just sign there.


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 1    Q.    They handed you the letter.      The letter describes your
 2    future employment at Signal, and you just decided not to read
 3    it.
 4    A.    Well, even though I did not read it, they will tell me
 5    everything in Hindi to me, that this is why you are going
 6    there, this is what it is, and then I signed for it.
 7    Q.    Did you think that by not reading it you wouldn't be bound
 8    to their terms or something?
 9             THE INTERPRETER:      Could you repeat that.
10             MR. UNGAR:    Sure.
11    BY MR. UNGAR:
12    Q.    Were you thinking by not reading the letter, "Maybe I'm
13    not bound to it" or something?
14    A.    The thing is that we are all humans, and we wanted to
15    think all of the things positive, all good things.
16             And in that good thought, I sold the land.        I gave them
17    the money.    So I didn't want to ask them any small things as to
18    what this is and what this is.      And I didn't want to cause
19    anything bad.
20             So we were all thinking good things would happen.         And
21    we were expecting that.     And we were going along with that.
22    Q.    Okay.   There is no doubt that you knew before you made
23    your third installment payment that the visa you would be
24    traveling on to work for Signal was an H-2B?
25    A.    Definitely, I understood that.


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 1              MR. UNGAR:     All right.   Now, we can take this down.
 2    BY MR. UNGAR:
 3    Q.      Before you came to Signal, on one of the last days you
 4    were in India, you signed some paperwork.
 5    A.      Yes.   I have signed many documents.
 6    Q.      One of the documents that you signed reminded you that
 7    there was a chance that you would not get a permanent residence
 8    visa.
 9    A.      That is wrong.
10    Q.      Let's look at Exhibit 1141.
11            Have you seen this?
12    A.      I don't remember seeing a paper like this.
13    Q.      Look at page 2.    Blow up the bottom.
14            That's you?
15    A.      That is my handwriting, and that is my signature.          I am
16    telling you the truth from beginning to the end.         This is my
17    signature and my handwriting, but I had not read anything at
18    all on this.
19    Q.      By putting your name on the document, you understood that
20    you were binding yourself to its terms.
21    A.      That is what I was saying.     When they were giving -- I
22    mean, the ticket to come here, they asked me to sign all these
23    papers.    And so I have signed a lot of them, and they would
24    also be tearing off the J&M paperwork, too.
25            So I don't know what all they tore off and what they did


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 1    not.    But they have asked me to sign a lot of papers, and I
 2    have signed a lot of papers.
 3    Q.      And every paper that you signed you knew what it meant by
 4    putting your name on it?
 5    A.      Well, as I said earlier, you know, they -- had signed a
 6    lot of papers for J&M, and that they were tearing them all up.
 7              And then they were asking me to sign all of these
 8    papers.       They were saying not to worry about J&M.    "This is
 9    what you are going to do now.      This is where you are going for
10    now."
11    Q.      I'm not sure you are answering my question.      Let me ask
12    another question.
13            Were you telling me that somebody was tearing up your
14    paperwork?
15    A.      They were giving a reason as to why they were tearing it
16    up.
17    Q.      First, it wasn't Signal that was tearing up your
18    paperwork, right?
19    A.      While we were coming for Signal, they were saying, "You
20    can just keep the documents pertaining to Signal.         And the rest
21    of them, you don't need it."      And that's why they were tearing
22    it off.
23    Q.      Nobody from Signal ever tore up any of your paperwork.
24    A.      No.    But after coming to the Signal, too, I have signed a
25    lot of paperworks.      I have signed a lot of paperworks for


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 1    Signal, too, but I have not read them all.
 2    Q.    You don't know if Signal knew that your paperwork abroad
 3    before you came here was being torn up, do you?
 4    A.    As I said, I have signed a lot of papers for J&M, and they
 5    are tearing it all off.
 6             And I'm coming here with all -- much expectations, and
 7    they were -- then again asking me to sign a lot of paperwork
 8    for here, for Signal as well.      And I was just getting by
 9    without any problems with that.
10    Q.    Do me a favor.    Can you list for me -- just list for me
11    the names of the people that tore up your paperwork before you
12    came to Signal.
13    A.    Yes, I can.    Sachin Dewan.
14    Q.    I would like to talk to you a little bit about your
15    consulate interview, which you spoke with your lawyer before.
16          You understood when you were walking into the consulate
17    interview that you were required to tell the truth.
18    A.    Well, he told me that there is an interview there and that
19    I should go to the consulate.
20    Q.    You understood that you would have to answer the questions
21    posed to you at the consulate interview truthfully, before you
22    went in to the interview.
23    A.    Definitely.
24    Q.    All right.    Now, the consulate interviewer asked you how
25    much money you paid in fees.


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 1    A.      Yes.    They asked.
 2    Q.      And you told the consulate interviewer a number much lower
 3    than the amount of money you actually paid in fees.
 4    A.      It is correct that you should tell the truth to the
 5    consulate.      But before that -- before I was going to the
 6    consulate interview, I was told that "This is what you should
 7    say, that you have sold your land.         And you should say that
 8    only you paid this much -- amount to go to USA, only then you
 9    would be able to go to USA."
10    Q.      I understand you were told to say that.      What I'm asking
11    you to confirm is that you actually told the consulate
12    interviewer an amount of money in fees that was much lower than
13    the amount you had actually paid at that point.
14    A.      Well, yes.    I am saying this:    When I was sent there, I
15    don't have anything but -- the family land or anything like
16    that.
17              So I have to tell what Sachin is asking me to say.         So
18    I'm not really allowed, and I just have to tell what he was
19    saying.
20    Q.      In order to come to America, you lied to the United States
21    consulate.
22    A.      Sir, I am 53 years-old.    In my life, I have not deceived
23    anybody.       I have not cheated anybody.   I've always spoken truth
24    and be just.
25            In the consulate interview, I said that because Sachin was


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 1    telling me that "It's very good company.        You could take your
 2    family there.     You could live there happily."
 3              And Sachin saying that this is what I should tell, that
 4    I paid and that -- that is what I had to say.        In my life, I
 5    have never deceived anybody at all.
 6    Q.      Other than that time at the consulate you are describing,
 7    right?
 8    A.      That is correct.   Because Sachin said that I would be able
 9    to go if I say that at the consulate.       Yes, that's correct.
10    Q.      I would like to talk to you about your time at Signal.
11            You alleged you had to work against your will at Signal.
12    A.      I did not understand the question.     Could you please
13    repeat it again.
14    Q.      Sure.   I would be happy to.   I will try to use a different
15    word.
16            Do you understand that your lawsuit claims that you had to
17    continue to work for Signal even though you didn't want to?
18    A.      I did not understand what you are saying as even if I did
19    not want to.
20    Q.      Do you allege you felt obligated to work -- well, forget
21    "allege."
22            Do you think that you felt obligated to work for Signal?
23    A.      Definitely, I'm obligated.
24    Q.      You felt obligated the entire time you worked at Signal?
25    A.      I did not have any problem in working there in Signal.        I


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 1    was happy to work there.     I did not have any difficulties
 2    working there.     I even had worked without eating any food from
 3    morning until evening.     I -- still I had done hard work there,
 4    because I did not have any problems working there at all.
 5            I did not want to leave their employment.      The only reason
 6    I have to leave is because they did not fulfill their promise.
 7    And that is the only reason that I have to leave, not -- I
 8    would be happy to be working there.
 9    Q.      And in the middle of what you are saying is a time where
10    you felt obligated to work for Signal, you got on a plane and
11    flew to India, and you were there for a month, and then got on
12    the plane and flew back into that obligation?
13    A.      Definitely.   Definitely.
14    Q.      Okay.   When you were in India -- well, strike that.
15            There was nothing you were fearful of in India that
16    prevented you from going home for that month?
17    A.      Well, as I said, you know, for humans, you need to have
18    faith.    And the faith that you go.     They say that -- not to
19    worry.    "You go and come back, and we will process your
20    permanent residency."
21              So in that faith and that trust, I go and then come
22    back.
23    Q.      I was asking something differently.     Let me try different.
24            You didn't borrow any money from money lenders in order to
25    pay your recruitment fees.


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 1    A.      No.
 2    Q.      So it has not made you afraid of money lenders or high
 3    interest rates which would prevent you from going back to
 4    India.
 5    A.      No.    As I said, you know, I'm not from very big family.      I
 6    am from ordinary, poor family.        And I had come here -- to come
 7    here, I have to sell my land.
 8              I did not have money to be able to borrow from money
 9    lenders, or I cannot afford to do anything like that.          So
10    that's why I have to sell my land to come here.         I am from a
11    small, ordinary, poor family.
12              I lost my job and I lost my land to come here.
13    Q.      The only person that decided to sell the land that you
14    sold was you.
15    A.      Well, I decided it, but it was my father who made this
16    decision, too.      It's my family.   Whatever the money that I was
17    earning, I was spending for my family.       So they were thinking
18    about all of these things, that the family can come here, that
19    the children can have a good education; they can have a higher
20    level of lifestyle.      And my father and mother, their desire was
21    that:    To see that their children to grow -- to be bigger and
22    better life.
23              So, in that desire, that is how I ended up coming here.
24    Q.      That's how you ended up deciding to sell the land.
25    A.      Yes.   That's how I decided to sell the land.


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 1    Q.    I will ask you one more question, and then we're going to
 2    move to time at Signal.
 3          Before you came to Signal, if you would have been told in
 4    India that Signal was shutting down its program and you
 5    couldn't come, that would have disappointed you.
 6    A.    Definitely, I would have been disappointed.        But it did
 7    not happen like that.
 8    Q.    Okay.   Let's talk about your time at Signal.       I want to
 9    ask you a little bit about --
10             THE COURT:    Let's stop.   Let's take a break if you are
11    at a point for us to change.      So we'll take a ten-minute break.
12    We'll come back at -- in ten minutes, so 4:35.
13             Please remember the instructions I have given you
14    previously.
15                       (JURY EXITS THE COURTROOM.)
16             THE COURT:    All right.    I want to talk about the --
17    the demonstratives that are proposed to be used tomorrow.
18             And, Mr. Sandler, I believe you're the person who's
19    going to argue for the plaintiffs.
20             I want to talk about the Cyrus Mehta demonstratives
21    first.   And I believe these are Signal's objections.
22             MS. HANGARTNER:    And I believe those have been worked
23    through.
24             MR. SANDLER:    Yeah, all of Cyrus Mehta's objections
25    have been accorded with Signal.      They're okay.


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 1             We changed one of the slides in accordance with some of
 2    the requests.    We have kept other pieces, and parties have
 3    compromised.    And we're okay on Signal's objections.       They're
 4    withdrawn.
 5             THE COURT:    All right.   So -- but I want you to be sure
 6    that you've looked at my order on the motion in limine and that
 7    your testimony complies with that.
 8             MR. SANDLER:    Yes, Your Honor.
 9             THE COURT:    All right.   Then, let's talk about -- is it
10    Dr. Mowl?
11             MR. CERNIGLIA:    My objection has not been addressed at
12    all.   I don't want to agree.
13             Signal would love to have that in there.
14             THE COURT:    Wait.   Are we talking about Mehta?
15             MR. CERNIGLIA:    They've not -- yeah.     They would
16    certainly love to agree to that, but that's not their
17    demonstrative.    That's going to be -- they've got to do
18    something with their expert.      They still want -- it's not been
19    resolved at all.
20             THE COURT:    This was an objection to Opinion Nos. 1 and
21    2, filed by Burnett and Dewan.
22             MR. CERNIGLIA:    Yes.
23             MR. SANDLER:    All parties have objections to Mehta's
24    demonstratives.
25             Signal and plaintiffs have agreed -- compromised and


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 1    agreed.
 2              Dewan's and Burnett's objections have not yet been
 3    taken care of.    I think that was the -- those were the
 4    objections you reviewed.
 5              THE COURT:   All right.   So you want to speak,
 6    Mr. Cerniglia?
 7              MR. CERNIGLIA:   Yes, Your Honor.     This is not at all in
 8    compliance with your order.
 9              Your order is pretty clear for these attorneys to get
10    up and give opinions on the law, because to advise the jury on
11    the complexities of immigration law and whether certain conduct
12    is consistent or inconsistent with those laws...
13              As an example, I don't know if you have all of the rest
14    of it -- they do have up here -- like, H-2B visa and green
15    card.   And that's fine.    They can go into that.      They can go
16    into what the delays were.      They can go into, you know, all of
17    that.
18              But when they start saying what's unreasonable for an
19    immigration attorney to believe, that's what -- one, they
20    should decide, the jury.
21              But, two, I don't even know the relevance of that
22    except if they would have a case for malpractice against Signal
23    on behalf of the plaintiffs.
24              I mean, if the plaintiffs had malpractice individually,
25    whether his conduct was reasonable or unreasonable.         But it


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 1    certainly has no relevance to trafficking, mail fraud, wire
 2    fraud.
 3             So it certainly is not factual issues dealing with
 4    immigration law and general processes, which that's fine.
 5             And the next one is even worse.       They want to put up on
 6    a screen that it is Mr. Burnett's plan.        There's been no
 7    testimony of that.
 8             Promising recruits green cards, there's been no
 9    testimony of -- the promise has always been that Signal would
10    sponsor somebody for a green card.       So that's not even true.
11             And then to go on and to say, you know, have an expert
12    say that "This is my opinion that there was a promise, and it
13    was to recruit green cards," that's telling the jury, "This is
14    what the case is."
15             And that is not what an expert is supposed to do.
16             And then to say that, "Well, this was risky and highly
17    likely to fail," they can argue that in closing arguments all
18    they want, but it's not for an expert to advocate their case as
19    an argument for something the jury has to decide.
20             This does not comport with your order, Your Honor.
21             THE COURT:    Mr. Shapiro?
22             MR. SHAPIRO:    Yeah.   And I agree with Mr. Cerniglia in
23    his argument in its entirety.
24             It kind of reminds me of some of your previous orders
25    about prohibiting the experts to talk about legal conclusions


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 1    and supplying the jury with something that they need to decide
 2    themselves.
 3             THE COURT:    All right.    Mr. Sandler?
 4             MR. SANDLER:    Thank you, Your Honor.
 5             There's two opinions.      I think you have the slide
 6    before you.
 7             So the first one, Mr. Cerniglia has raised the issue.
 8             Can I look at this, or does it have your notes on it?
 9             MR. CERNIGLIA:    Yeah, that is it.
10             MR. SANDLER:    The first issue Mr. Cerniglia has pointed
11    out is that this has nothing to do with trafficking, mail
12    fraud, or wire fraud.     You know, that's obviously not the
13    entire universe of the claims the plaintiffs have against
14    Mr. Burnett.    And the claims include fraud, common law fraud,
15    negligent misrepresentation.
16             And -- but, really, what the -- and, therefore, there
17    is a relevance there.     But what -- and then I will speak to
18    Opinion 2 in a moment.
19             But what's really at issue here is that, for the jury,
20    there's really two steps for them.
21             The first one is that they have to understand a very
22    complex area of law that most practitioners who are not ex- --
23    who do not practice in it, have trouble understanding, and
24    that's immigration law.
25             So it's already a big ordeal to have them do that.


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 1             The next step that they're going to have to do is that
 2    they're going to have to decide, okay, now that I think that
 3    I've worked out how U.S. immigration law applied in 2004, 2005,
 4    and 2006, they now have to decide what did Mr. Burnett do and
 5    was that appropriate conduct under that legal regime.
 6             And so, you know, for Mr. Mehta to get up there and
 7    explain what the law is or was, but not for him to opine what
 8    was going on in the immigration law community at that time, as
 9    to promises of two years to get a green card, which is really
10    the core promise that Burnett made to all of the plaintiffs,
11    and whether that was even conceivable at that time, is
12    something that I think that Mr. Mehta needs to be able to do.
13             Otherwise, the only person who's going to give
14    testimony on that, the only person who can actually
15    authoritatively speak about immigration law, if not Mr. Mehta
16    or Mr. Gonzalez for Signal, is Mr. Burnett.
17             And I think that the jury needs to have a counterweight
18    to understand it is not just the plain, cold law -- this is how
19    an H-2B works; this is how a green cards works -- but also what
20    was appropriate conduct, what were -- what could even be
21    reasonable at that time.
22             Is it reasonable to promise a green card in two years
23    to somebody born in India at that time?
24             And Mr. Burnett will say it was and that's why he did
25    it.


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 1             And the fact of the matter is the immigration community
 2    does not believe that.
 3             And I think that the jury will feel -- will not have an
 4    adequate basis to assess Mr. Burnett's testimony if they
 5    haven't at least heard from an expert who can speak, from an
 6    objective point of view, as to the state of the law at that
 7    time for immigration law.      So that's for Opinion 1.
 8             For opinion -- and so, for Opinion 2, Mr. Cerniglia
 9    took issue with it, saying Mr. Burnett's plan of promising
10    recruits green cards -- we can change that language.
11             I don't have to assign a plan to Mr. Burnett.         And
12    that's something that Mr. Cerniglia and I haven't even
13    discussed.   But, of course, plaintiffs can change that.
14             But I think that he has a larger overarching issue with
15    respect to this, and that is the plaintiffs' expert's opinion
16    on how you can move somebody from a H-2B to a green card.
17             The fact of the matter is, in the immigration law
18    community, almost no one ever does it because of the things
19    that are stated in Opinion No. 2.
20             And, again, if Mr. Mehta is not allowed to comment on
21    that, then plaintiffs will not be able to articulate just how
22    far-fetched the plan was.
23             And for, you know, unschooled people, in U.S. law, much
24    less U.S. immigration law, to fall prey to it, you know,
25    they're not able to articulate these intricacies in their own


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 1    testimony.   And, therefore, they need the help of an expert.
 2             All of this will be addressed by cross-examination.
 3             MR. CERNIGLIA:    Your Honor, it's fine to talk about
 4    what the law allows, what time limitations they may have, what
 5    has to be filed here, what has to be filed there.
 6             But to take it to the next step and start talking about
 7    what the immigration community believes, well, now you're
 8    getting into a standard-of-care argument.
 9             But it's not what Mr. Burnett's going to be saying this
10    is or is not.    His testimony -- there's going to be testimony
11    that this did happen.
12             If they want to say you cannot do an H-2B and you
13    cannot do, add to an I-140 because these are the reasons, this
14    is the law, boom, boom, boom, boom, that's exactly what an
15    expert's supposed to do.     And that's what I have to
16    cross-examine.
17             THE COURT:    Well, what is Mr. Burnett going to testify
18    about with respect to the law?      Are you --
19             MR. CERNIGLIA:    The only thing that I --
20             THE COURT:    -- are you planning to have him testify
21    that what he did was reasonable or that --
22             MR. CERNIGLIA:    No.   I'm going to have him testify on
23    what he did.
24             THE COURT:    I'm not -- I'm not going to allow
25    Mr. Burnett to give legal opinions, either.


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 1              MR. CERNIGLIA:   No.   I have no -- now, I would say --
 2              THE COURT:   Conclusions, legal conclusions.
 3              MR. CERNIGLIA:   Oh, on conclusions.     But what the law
 4    states, and that's fine.     I'm fine with that.
 5              But, no, I'm not going to give a legal conclusion
 6    either.
 7              THE COURT:   He's not going to be able to say, "I didn't
 8    commit malpractice."
 9              MR. CERNIGLIA:   No, of course not.
10              THE COURT:   And that, you know, he can talk about what
11    he -- he can basically say the same things the other experts
12    can talk about.
13              MR. CERNIGLIA:   Exactly.    What is the law, what is --
14              THE COURT:   Whether certain conduct complies with the
15    law.
16              But then he can't reach the conclusions that what he
17    did was reasonable and that he didn't commit malpractice.
18              MR. CERNIGLIA:   Absolutely true, Your Honor.       He's also
19    going to determine what he did use.
20              Having stuff like this in the opinion from an expert,
21    saying, "Well, my opinion is that when he made that promise,
22    he's -- he's" -- first of all, as soon as you say that, now the
23    premise is it's been established.
24              But then he's going to go on and say the conclusions
25    from that.   That is not what this expert's for.


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 1              We have to educate the jury on I-140s, H-2Bs, when you
 2    can file for extensions, when you can't file for an extension.
 3    And that is absolutely fine.      I have no problem with that,
 4    either.
 5              THE COURT:   Ms. Hangartner, are you standing there for
 6    a reason?
 7              MS. HANGARTNER:   Your Honor, my concern is -- and I
 8    believe that I share this with the plaintiffs, and I echo what
 9    Mr. Sandler said -- is that it's a very intricate area of law.
10    It's not just the statutory schemes.
11              There are H-2B bulletins that come out.       You have to
12    factor that into conjunction with the H-2B or the I-140 as well
13    as the priority date that an individual may have or may have
14    lost.
15              THE COURT:   But I consider that part of the law.
16    That's part of the law.
17              MS. HANGARTNER:   But I think the concern is putting
18    those pieces together from an expert's point of view.          Because
19    in order -- it's my belief, and correct me if I'm wrong, but
20    for Mr. Burnett to defend himself, he's going to say these
21    things.
22              And the only way that we can rebut it is through expert
23    testimony.
24              THE COURT:   Anything else?
25              MR. SANDLER:   May I respond very quickly.


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 1             Mr. Burnett has been deposed in over 1,000 pages of
 2    testimony.   So he has said these things.       He said that his plan
 3    was reasonable.    He said it was totally --
 4             THE COURT:    That's what he said in his deposition.
 5             MR. CERNIGLIA:    You're right.
 6             THE COURT:    It doesn't mean he's going to say it on the
 7    stand.
 8             MR. SANDLER:    Well, would a question to the expert be
 9    "What is your opinion of a promise to an Indian-born person
10    that they could get a green card within two years in 2005?"
11             THE COURT:    I think you can -- I think you can say it
12    another way.    Like, "How long does it take" --
13             MR. CERNIGLIA:    Yes.
14             THE COURT:    -- "to get a green card?"
15             MR. SANDLER:    But, in immigration law, there is no
16    fixed period of time.
17             For some of these guys, they still wouldn't have it
18    under the -- under the old scheme.
19             THE COURT:    Well, then he'll -- he can answer that
20    there's no fixed period of time.
21             MR. SANDLER:    But it's possible there is a
22    one-in-a-million chance that you could get it.         And what I'm --
23    what plaintiffs are nervous of is that possibility, that
24    infinitesimal possibility, being amplified so Mr. Burnett's
25    essentially, as if it were of equal weight to it not having it.


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 1              THE COURT:   I think your expert can say, "In my
 2    experience, it's very rare for this to happen, for these
 3    circumstances to result in a green card within two years."
 4              I think he can testify to that.
 5              MR. SANDLER:   Okay.   Fair enough.     And if I could ask
 6    him by what percentage, if I could give him a percentage?          Is
 7    it a -- you know, is it a 10 percent chance?        Is it 20 percent
 8    chance?   He could give that?
 9              THE COURT:   He can say that.    Yes.
10              MR. SANDLER:   Very well, Your Honor.
11              THE COURT:   So I'm sustaining the Burnett and Shapiro
12    objections.
13              You cannot use this demonstrative or go beyond the
14    limits of what I ruled in the order on the motion in limine.
15              I think I've clarified it somewhat for you this
16    afternoon.
17              MR. SANDLER:   Thank you, Your Honor.
18              MR. SHAPIRO:   I want to add one thing.
19              I appreciate your ruling, but it seems to me that
20    something has come up again and again in this case.
21              THE COURT:   Stand closer to the mic.
22              MR. SHAPIRO:   I'm terribly sorry.
23              The issue of just asking a witness that -- what was
24    promised here.
25              I think there has to be -- somehow it has to be


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 1    established that there was a promise before that question could
 2    be asked.
 3             I mean, it's a statement.      It has to be a promise of
 4    some kind.
 5             THE COURT:    Well, you know, this is -- you're going to
 6    have a chance to question your witnesses.
 7             And I assume they'll say there was no promise.
 8             All right.    Let's talk about Amy Mowl.      Who is this?
 9    This is Signal.
10             DR. ROUX:    Yes, Your Honor.    And I think that our
11    concerns stem from the same interpretation of your order
12    concerning the motion in limine with respect to Ms. Mowl.
13             Signal's understanding of your motion -- or your order
14    regarding the motion was that she'd be limited to testifying
15    about debt and collection practices in India.
16             But we're worried that the demonstratives that the
17    plaintiffs have presented with respect to two bullet points
18    going beyond that limitation and may be indicative of her
19    testimony, going beyond that limitation as well.
20             One of the bullet points concerns opinions related to
21    the debt or protection laws in India and their lack of
22    enforcement, which is a legal opinion.
23             We would urge -- and she is an economist, not a lawyer,
24    much less an Indian lawyer.      So it's not in her competence to
25    render such an opinion.


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 1             The second point has to do with her opinion regarding
 2    newspaper articles.
 3             In the motion in limine order, Your Honor ruled that
 4    she may not render opinions or make mention of suicide as it
 5    relates to Indian debt practices.
 6             In her expert report, that primarily came from
 7    newspaper articles.
 8             Further, the newspaper articles don't have anything to
 9    do specifically with debt and collection practices in India.
10    They have to do with what the plaintiffs would have known or
11    would have heard of, and those go to other aspects of the
12    motion in limine that were granted in Signal's favor.
13             THE COURT:    All right.
14             MS. GRAUNKE:    Thank you, Your Honor.
15             As regards the bullet point -- we're talking about laws
16    protecting debtors in India are weak and poorly enforced.
17             What we're trying to get at here, and I think what
18    Ms. Mowl will testify to, is that there just aren't many laws
19    that protect debtors, specifically in India.
20             But more than that -- and perhaps some wordsmithing
21    could be done to convey this -- but more than that, that the
22    police just don't take action against money lenders who resort
23    to violent acts or threats to try to get their loans repaid,
24    that they see this as a private matter between lender and
25    borrower, and that they don't even enforce criminal laws often


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 1    until it's very late, if at all.
 2             So that's what we're seeking to have her discuss.
 3             THE COURT:    Where is it in her report that she gives
 4    that opinion?
 5             MS. GRAUNKE:    Your Honor, I'm sorry.     I don't have that
 6    report in front of me.
 7             THE COURT:    I have two.   By the way, are there two?     I
 8    have two different reports.
 9             Maybe one was in Texas.
10             MS. GRAUNKE:    Yeah.   No, I think there was one report.
11             THE COURT:    One was in Louisiana.
12             I have a copy.    Do you want to see it?
13             MS. GRAUNKE:    Sure.   I apologize.
14             THE COURT:    I tell you what.    We're going to start the
15    testimony, and you find that, and we will continue this at
16    5:30.
17             MS. GRAUNKE:    Okay.
18             DR. ROUX:    Yes, Your Honor.    Thank you.
19             THE COURT:    All right.    So let's bring the jury back.
20
21                         (JURY ENTERS THE COURTROOM.)
22
23             THE COURT:    All right.    Have a seat.   Thank you.
24             MR. UNGAR:    Thank you, Your Honor.
25    ///


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 1    BY MR. UNGAR:
 2    Q.    Mr. Andrews, I would like to talk to you a little bit
 3    about your money while you were working at Signal and how it
 4    was handled.
 5          You were paid by direct deposit into an M&M Bank account.
 6    A.    Yes.
 7    Q.    Okay.    Once the money ended up in your M&M Bank account,
 8    you are the only person that would ever take it out, right?
 9    A.    Yes.    Because it is my money, only I could take it out.
10    There is nobody else of mine who are living around here.
11    Q.    Right.    And then you would take that money out, and some
12    of that money you would send to your family in India.
13    A.    No, not some money.     Mostly, most of the money that I
14    earned I spent for my family.
15    Q.    Signal did not interfere with your sending money home,
16    right?
17    A.    No.    Definitely, they did not.
18    Q.    You never suffered physical injury while you were at
19    Signal.
20    A.    Even though at the workplace I did not get any physical
21    injury.     Mentally and emotionally I was injured.
22    Q.    Right.    You were never physically injured at Signal.
23    A.    It never happened.
24    Q.    Nobody at Signal ever threatened you with physical injury.
25    A.    Initially, it was not there.      But after the Sabulal


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 1    incident happened, in my mind I had a fear like that, but
 2    nobody had done anything like that.
 3    Q.    And nobody at Signal ever threatened your family.
 4    A.    Definitely.    It never happened.
 5    Q.    Right.   Nobody at Signal ever said anything to you that
 6    you thought was hateful.
 7    A.    The company, nothing like hateful was said, but then they
 8    were badly pushing us.     "Because these guys are Indians, we
 9    could make them do a lot more work."
10              Towards the end, they were doing these things.
11    Q.    You liked your day-to-day work at Signal, I think you
12    testified.
13    A.    Definitely.    That's right.
14    Q.    In fact, you cannot remember a single time when you did a
15    job at Signal that you thought was unsafe?
16    A.    Never.   I never desired to have anything like that.
17    Q.    There were Mexican people on your work crew?
18    A.    They were.
19    Q.    Those Mexican people would get the same work assignments
20    as you.
21    A.    There is some difference in it.
22    Q.    More or less same jobs, everybody on your crew.
23    A.    There is a small difference.
24    Q.    What's the small difference?
25    A.    When they were asking us to be quick, they are saying --


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 1    saying us to be fast and do it quickly, then we say, "Okay."
 2    We listen to them.
 3              But if they are saying the same thing to a Mexican or
 4    an American worker, then they will say, "Okay."         And they would
 5    just grab their tools, and they would walk away from there.           So
 6    that small difference was there.
 7    Q.     Okay.    But as far as the job assignment, what you were
 8    actually doing when you were welding, the job assignments were
 9    the same.
10    A.     Definitely, yes, yes.
11    Q.     Now, your lawyer put up a couple of documents that said
12    that you got some warnings that you disagreed with.
13    A.     The thing -- the reason I was disagreeing is that you are
14    working truthfully.     You are doing good work.     You are a hard
15    worker.      And then still when you are getting one letter for all
16    of your hard work and things like that, then no matter who you
17    are, then you would still feel emotionally -- it would affect
18    you.   Mentally, it would affect you.
19    Q.     Signal never lowered your wages while you were working
20    there?
21    A.     It never happened, no.
22    Q.     You were getting these warnings, but you were getting
23    raises, too?
24    A.     No.    I had not gotten any raise after the warning.        When I
25    initially came, I did the test, and they increased my rate.


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 1    And then I continued performing good work, and then they had --
 2    I believe they just increased my wages once.
 3    Q.    What do you think your final hourly rate was at Signal for
 4    work as a welder?
 5    A.    I always respect my salary that I was getting from Signal.
 6    I had worked in other countries as well.        So I do not know the
 7    value of -- or the money that I was getting from Signal, and I
 8    was really happy, and I was proud of it.
 9    Q.    What was that number per hour?
10    A.    $18.75.
11    Q.    And that is where your salary stayed -- well, that is
12    where your hourly rate stayed until you left Signal?
13    A.    Definitely, yes.
14    Q.    All right.    Let's talk a little bit about the bunkhouse.
15          You were at Signal for, like, 16 months; is that about
16    right?
17    A.    Definitely, I was there.
18    Q.    All right.    So over half the time that you were at Signal,
19    your bunkhouse has less than 18 people in it.
20    A.    Yes.
21    Q.    So when people were saying that the plaintiffs' bunkhouses
22    had 24 people in it, that's not true for you for over half the
23    time you were at Signal?
24    A.    As I said, initially when I came there for four or
25    five months, it was very tight.      The bunkhouse was full.       But


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 1    then later on, new bunkhouses have come, and people have left
 2    from there.    So then it became better.
 3    Q.    Right.    Within six months of you being at Signal, the
 4    number of people in your bunkhouse was 18 or lower.
 5    A.    I have told you already.     Yes.
 6    Q.    Okay.    Did you have a top bunk or bottom bunk?
 7    A.    I was at the bottom.
 8    Q.    You could sit up on your bottom bunk without hitting your
 9    head, right?
10    A.    When we came here initially, my head would hit.         But then
11    later on, after, we told them, and they had brought in some
12    carpenters, and then they corrected it.
13    Q.    So you guys complained to Signal and said, "Can you lift
14    the top bunks up a little bit higher so that the people on the
15    bottom bunk won't hit their heads?"
16             And then that change was made by Signal, is what you
17    are saying?
18    A.    As I said earlier, I have never written a complaint.           It
19    was my coworkers who had complained about these things.            And
20    based on that, Signal had made the changes, and I enjoyed the
21    good deeds from that.
22          Sorry.    I cannot say that I enjoyed -- I had -- I lived
23    there with -- withstanding the difficulties.
24    Q.    Now, when you arrived at Signal, there was a shower
25    trailer, right?


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 1    A.    No.
 2    Q.    There was certainly a shower trailer at Signal while you
 3    were working there?
 4    A.    No.
 5    Q.    Never?
 6    A.    No, I have not seen it.
 7    Q.    Okay.    Do you remember while you were at Signal that
 8    Signal created, like, a boot rack or a boot shelf for the work
 9    boots so that they wouldn't be brought into the bunkhouse?
10    A.    As I said, that I was a person that came on the first
11    group of people, and that is correct.
12             They had a small box by the bunkhouse to keep our
13    shoes.
14    Q.    Was that there when you arrived?
15    A.    No.   But they brought it in after we arrived there.
16    Q.    Right.    It was brought in because some of your coworkers
17    were asking for it.
18    A.    It could be.
19    Q.    Okay.    Let's talk about the food for a second.
20          You never ate spoiled food inside the mess hall, right?
21    A.    I ate it, and I got ill because of it.       And it was very
22    sad that I had eaten there.
23    Q.    The spoiled food that I thought you said you ate was the
24    food that you would bring with you and it got spoiled on the
25    worksite.


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 1    A.      Definitely, yes.
 2    Q.      The food wasn't spoiled when it was in the mess hall.
 3    A.      Well, there is, like, a difference there.
 4              The food that they were preparing, they were preparing
 5    in the evening.       And because there was a time change, then that
 6    makes a difference.
 7              And it's all true that 90 percent of the time the food
 8    that was taken was the one that got spoiled.        I'm not saying
 9    that my stomach illness came basically because -- as far as
10    food.
11              But then it is -- the reason being that there is no
12    fridge that was provided at the worksite.        That is why the food
13    got spoiled.
14    Q.      You never ate spoiled food inside the mess hall, right?
15    A.      We cannot say that.    There may not be any smell when you
16    take the food to eat.      But only after you go to the company,
17    then you may have some stomach problem or some gas.
18              But, so, you know, you take food that is hot to avoid
19    all of these problems.
20    Q.      I think you testified that there was a bus or a van at
21    Signal that you could take to Wal-Mart.        That is how you would
22    get to the Buffalo Wild Wings.
23    A.      Definitely.    I said that.
24    Q.      Couldn't you spend a couple of bucks at Wal-Mart to get
25    yourself a thermos, make sure you weren't eating spoiled food?


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 1    A.    I don't know if we got it or the company provided us.
 2             They had given us a box, a thermos box, so that we
 3    could carry our food without it getting spoiled.
 4    Q.    Right.    Then when you realized that that box might not
 5    actually be good enough to prevent the spoiling, instead of
 6    going and spending a few dollars to get a box that would
 7    prevent it, you kept using the box and kept getting sick.
 8    A.    Well, so that is around there.      Even though if you spend
 9    $100 to buy a box, if the food that you are putting in that
10    box, if it's spoiled, what good is it?
11             The box that we were carrying, it was a very good box.
12    Q.    Okay.    I want to ask you a couple of questions about the
13    boil that you told us was removed off of your back.
14             You testified that a doctor told you that you got a
15    boil on your back because of food that you ate; is that right?
16    A.    Yes.    Definitely.   The doctor asked me, "What food are you
17    eating?"     And so I told him the food I eat.     Then, because of
18    that, if you are not eating proper food, then you would have
19    gas and you will have stomach problems and you have to go to
20    bathroom like two or three times because of the food.          So the
21    doctor was saying you should eat good food.
22             "So that time you don't have any stomach problems and
23    things like this, you would have acne on all of your body if
24    you are not eating proper food, and this could happen along
25    with the stomach problem."


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 1    Q.    Tell me the name of the doctor that told you that.
 2    A.    I don't remember the doctor's name.       He was in Moss Point.
 3             It's been five, eight years ago.       So I have been there
 4    only once, and he was a very good doctor.
 5             He did the surgery and put on the medication and asked
 6    me to control the food.
 7             And up until today, I never had the diarrhea occur
 8    again.
 9    Q.    I'm assuming that it was a dermatologist that removed the
10    thing off your back?
11    A.    I don't know which doctor that I went and saw.
12             It was an ordinary doctor, and he did a very good
13    treatment at that time.
14             He was asking about the food and what -- the responses
15    I just gave, he gave me those responses.
16    Q.    While you were working at Signal, you had many days off.
17    A.    I did not take time off on my own accord.
18             Whenever the company was giving time off, so that's
19    what I had.
20    Q.    Sometimes you would go fishing on your time off?
21    A.    I remember one or two times that I went along with my
22    friends.
23    Q.    And then you also bought a car while you were at Signal.
24    A.    Definitely, I bought it.
25    Q.    After you bought the car, whenever you were off of work,


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 1    you could use that car and go wherever you wanted, and you did
 2    that.
 3    A.      Yes.    Yes.
 4    Q.      You drove the car all the way to Disney World?
 5    A.      That is -- this is something that I had very much desire
 6    to do at the time.
 7              I was living in that room that is like a jail, and I
 8    was having a difficult life.        So I thought, you know, "Let me
 9    buy a car and let me go look around America when I'm not at
10    work."
11              So I did that.      That is a truthful thing.   Yes, I did
12    that, definitely.
13    Q.      And you knew while you were working at Signal you were
14    free to quit whenever you wanted to?
15    A.      No.    I never thought about my quitting.    I never had a
16    plan.
17              The reason I was buying the car, too, when my family
18    comes here, that I could take them around; I can show them
19    around.       I don't have to ask someone else to drive us.
20              So that's the reason I had to buy a car, too.
21    Q.      I understand it wasn't your plan.     What I'm asking you to
22    confirm for me is that you knew while you were working at
23    Signal, that if you want to, you were free to leave that
24    employment whenever you wanted.
25    A.      To quit my job and go, I never thought that.      I know when


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 1    I do not have any work I could go out and look around, but I
 2    never talked about quitting my job and leaving from there.
 3    Q.    I understand that you never thought about it.        It's
 4    something you knew you could do, though.
 5    A.    Definitely.
 6    Q.    You also knew that if you chose to leave Signal, Signal
 7    would not sponsor you for an employment-based green card.
 8    A.    No.    For however long I have worked there, I'm expecting
 9    that they would be getting me a green card.
10              So I worked with dedication there.      But expecting that
11    they would get -- give me the green card, I would come to work
12    there.
13    Q.    You knew, though, that in order for Signal to sponsor you
14    for a green card, you actually had to be working for them.
15    A.    Definitely.    That's why I was staying there, right?
16              Only, later on, the company was saying that they would
17    not give me the green card.
18    Q.    All right.    You testified about seeing a part of the
19    March 9th events and then proceeding to work.
20    A.    Yes.
21    Q.    So anything about that day, you were told by others?
22    A.    Yes.
23    Q.    After that day, you stayed at Signal for, like, 11 more
24    months.
25    A.    Yes.   Whatever the promise I gave for Signal, I fulfilled.


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 1    Q.    Now, when you left Signal, I think you testified that
 2    somebody at Signal told you that they would not be able to get
 3    you a green card.
 4             Is that what you are saying?
 5    A.    I did not say that.     When I was leaving, while I was
 6    working at Signal, the campers had a meeting at the mess hall,
 7    and he was saying that they would not give us green card.
 8    Q.    Isn't it true that what actually happened is that at a
 9    meeting with Signal you were told by a Signal representative
10    that Signal would indeed apply for a green card for you, but
11    that's -- because you traveled on an H-2B visa, you would have
12    to go home to India while that was pending?
13    A.    So I have only told you that, that I came here with
14    expectation of a green card.      And after working for six months,
15    they are saying they are going to apply for it, and that I
16    could go back.
17             So I went to India, and then I came back.
18             And they were saying, "You can't continue working, and
19    we will get you the green card."       And with that expectation, I
20    was working continuously there.
21    Q.    Signal told you that it would actually apply for a green
22    card for you; it's just you would have to go back to India to
23    wait for it.
24             Isn't that what Signal told you?
25    A.    No.   No.   What they told me is that they -- that I would


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 1    be getting a H-2B visa and they would renew that, and they
 2    would also apply for my green card.
 3             Because of them saying that, that's why I went to India
 4    for six months.
 5    Q.    Okay.   Now, while you were at Signal, you had some
 6    meetings with Mr. Burnett in New Orleans, right?
 7    A.    The meeting that I had with Mr. Burnett was after one or
 8    two weeks of after me coming here.
 9    Q.    While you were working for Signal, weren't you meeting
10    with Malvern Burnett to pursue your J&M green card opportunity?
11    A.    Well, Mr. Malvern Burnett is the first person that I'm
12    meeting to come to America, right.
13             So while I'm here, then I wanted to go see him, and I
14    asked him about the green card processing and bought my work
15    permit for an opportunity to stay here permanently, the
16    permanent residence thing.
17             So while I'm also here, I thought I would go and talk
18    to him and ask him face to face.
19    Q.    You asked him about J&M.
20    A.    Well, I met him for J&M.     So I went to his office and I
21    was asking about my green card.
22             So he says not to worry about anything.        "You just work
23    good at Signal International, and they will make all of the
24    arrangements.    Do not worry at all."
25             So with all of those hopes, I was having greater


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 1    expectations that Signal International will process my green
 2    card.
 3              Well, regarding one more thing I have to say, is
 4    regarding the green card processing that Malvern C. Burnett had
 5    come to the office at Signal with the Signal representative
 6    there at Signal, and told us that "You continue doing work so
 7    Signal will process and get the green card for you."
 8              So I cannot hold responsible for Malvern C. Burnett or
 9    Sachin Dewan.     I can only ask Signal International, because
10    they were the one who are supposed to process the green card.
11    Q.      Isn't it true that at your deposition last year I asked
12    you, "While you were working for Signal, weren't you meeting
13    with Malvern Burnett to pursue your J&M green card
14    opportunity?" And you said, "Yes"?
15    A.      Yes.   Definitely, that is what had happened.     Initially,
16    we had applied for J&M, and they were processing this for J&M.
17    And at the last minute, they were saying that you would go for
18    Signal International.
19            And Sachin Dewan and Michael Pol and -- they all met with
20    the top person of Signal, and they decided that Signal is the
21    one who is going to process the green card.
22    Q.      You don't know if Signal knew you were talking with
23    Malvern Burnett while you were working for Signal about J&M, do
24    you?
25    A.      Well, that is why I'm telling you again, I -- initially,


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 1    we were processing for J&M.      And then they say, "Forget about
 2    that, and Signal International is the one who is going to
 3    process it from now on."
 4          And all of these people, they had come here and spoken to
 5    the main person here at Signal International.        And then Signal
 6    International themselves tell us that they would be the one who
 7    is going to process the green card.
 8          Only after the meeting, Sachin Dewan goes back to India,
 9    and then Malvern C. Burnett comes back over here.         And after
10    that, I have never contacted Malvern C. Burnett.
11    Q.    I'm talking about a meeting you attended with Malvern
12    Burnett where you were talking about J&M, which you confirmed
13    for me occurred.
14          You don't know if Signal knew about that meeting?
15    A.    That is what I was saying, that I had come here to
16    New Orleans to meet Malvern C. Burnett.        And I asked him, "What
17    about the permanent residency?      Are you processing with the J&M
18    or Signal International?"
19             That is when he was saying that -- not to worry about
20    it at all, do not see about J&M at all, not to worry, that "You
21    go back and work good."     And Malvern C. Burnett was saying not
22    to worry about it at all.
23    Q.    I'm going to ask to pull up the deposition testimony.
24    This is Volume 3 of the deposition of Andrews Padavettiyil,
25    page 589.   So the date of that deposition is March 25, 2014.


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 1          Starting on Line 25, I'm going to read, which is the exact
 2    question I asked you earlier:
 3          "QUESTION:    While you were working for Signal" -- next
 4    page -- "weren't you meeting with Malvern Burnett to pursue
 5    your J&M green card opportunity?
 6          And your answer was:     "Yes."
 7          Right?
 8             MS. BOUHABIB:     Objection, Your Honor.     Improper
 9    impeachment.    He agreed that he met with Mr. Burnett to talk
10    about J&M.
11             THE COURT:    I assume you are setting up or going to
12    show something now.
13             MR. UNGAR:    I actually wasn't sure that he actually
14    confirmed it.    If he can confirm for me that it was true, that
15    was really all I was trying to establish.        I just want to
16    ensure that he actually said that.
17             THE COURT:    Okay.   I think he said that.
18             Let's move on.
19             MR. UNGAR:    Okay.   I'll take that.
20             Last thing, I'm nearly done.       Five minutes maybe.
21    BY MR. UNGAR:
22    Q.    When you sold the land in 2004, you got five lakhs, right?
23    A.    Yes.
24    Q.    That is about $12,000, U.S.?
25    A.    No.    Approximately $20,000.


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 1    Q.      Really?
 2    A.      Well, there is a difference.    Every year the Indian rupee
 3    and U.S. dollar exchange is different.        So it goes up or comes
 4    down.
 5              So it could be, like, 12,000 or 20,000.       And if you are
 6    looking at current rate, then it would be even more.
 7    Q.      In 2004, it was about 12,000 for 100,000 rupees?
 8    A.      I don't know exactly.     I don't remember.   So if you look
 9    every year at the dollar rate to India rupee rate, then you
10    would be able to know that.       I don't know exactly.     I don't
11    remember it.
12    Q.      Right.    But it was no more than $20,000.
13    A.      Yes.   Yes.
14    Q.      Do you remember how much money you made at Signal?
15    A.      Well, is there something that I can tell?      Would it be
16    okay if I could say something?
17            At this time period, I want to remind you as well that
18    land that I sold had actually gone up four or five times in its
19    price.
20    Q.      Every time you sell land, you take that risk, right?
21    A.      No.    I only have sold my land once.
22    Q.      You recognize the document -- okay.     So this is
23    Exhibit 2098, which has been admitted already.
24            You recognize this as your 2006 W-2 from Signal?
25    A.      Definitely.


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 1    Q.      You grossed $9,889.39 in 2006 from Signal?
 2    A.      Definitely.
 3    Q.      Do you recognize this as your 2007 W-2 from Signal?
 4    A.      Definitely.
 5    Q.      In 2007, you grossed $64,533.55 while working for Signal?
 6    A.      Yes, sir.   But I have a small thing that I need to say on
 7    that, too.
 8            In this, it does not show $12,000 that has been deducted
 9    from this 64,533.
10              And then also when I was not employed for two or
11    three years in India, when I was hungry, my father and
12    brothers, they -- for two years, that they had borrowed a lot
13    of money to feed themselves with the money that -- I'm able to
14    support them with the money that I was sending them.
15              Did you know that?
16    Q.      That is your 2008 W-2 from Signal?
17    A.      Yes.
18    Q.      You grossed $3,982.88 in 2008 at Signal?
19    A.      Yes.
20    Q.      So total you grossed about $80,000 while you worked for
21    Signal?
22    A.      Well, sir, in that 16 months that I worked there for,
23    every month they had deducted $1,050 from that.         So if you
24    could use that amount also from that money -- if you could say
25    that.


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 1             THE COURT:    Stop.
 2             THE WITNESS:    For the two years that I was working
 3    here, my family had to borrow money to feed themselves.
 4             I'm very happy that I have come here to America and I
 5    was able to make this amount of money.
 6    BY MR. UNGAR:
 7    Q.    Which was in gross at Signal -- yes-or-no question --
 8    $80,000.
 9    A.    No.    I have not received that amount.      They have taken the
10    money out.    The company had deducted the money from that.         The
11    reason being that they did not take out the money that they
12    deducted for food from this.      This includes all of those, too.
13             THE COURT:    I think we need to move on.
14             MR. UNGAR:    Nothing further.     Thank you, Your Honor.
15             THE COURT:    So we're going to break for the day.
16             I want to remind the jury of the instructions I have
17    given them.    Until the trial is over, you are not to discuss
18    the case with anyone, including your fellow jurors, members of
19    your family, people involved in the trial, or anything else.
20             If anyone approaches you and tries to talk about the
21    case, do not tell your fellow jurors, but advise me about it
22    immediately.
23             You must not communicate with or provide any
24    information to anyone, by any means, about the case.          You may
25    not discuss the case, even among yourselves, until it's


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 1    concluded and you are instructed to begin your deliberations.
 2             Please remember you are not to reach any conclusions
 3    until all of the evidence has been presented, the Court has
 4    instructed you on the law applicable to the case, and it's
 5    given to you for deliberation and decision.
 6             We will resume at nine o'clock tomorrow.
 7
 8                        (JURY EXITS THE COURTROOM.)
 9
10             THE COURT:    The witness can leave.      The witness
11    tomorrow -- would you please tell him that because he is under
12    cross-examination, he is not to discuss his testimony with
13    anybody until he goes back on the stand tomorrow, and that is
14    to include his lawyers.
15
16                           (WITNESS EXITS STAND.)
17
18             THE COURT:    All right.    Thank you.    You may all leave
19    the stand.    Thank you.
20             And you-all, I'm going to finish up this argument
21    about -- you-all can have a seat -- about the expert opinions
22    before we go to my conference room to have our first charge
23    conference.
24             For the record, I want to clarify that the -- with
25    respect to the Cyrus -- yes -- the Cyrus/Mehta objections by


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 1    Burnett and Dewan, the objections were to demonstratives that
 2    had this information.
 3             Cyrus Mehta Opinion No. 1:      "From 2004 to 2006, it will
 4    be unreasonable for U.S. immigration attorney to believe that a
 5    person with the skill sets of the plaintiffs, in this case,
 6    born in India could obtain permanent residency status in the
 7    U.S. within two years through a U.S. employer."
 8             And Cyrus Mehta Opinion No. 2:       "Mr. Burnett's plan of
 9    promising recruits green cards when moving those recruits into
10    the U.S. under an H-2B visa was dubious, risky, and highly
11    likely to fail."
12             So I don't want more discussion.       I just wanted the
13    record to be clear of what we were arguing about earlier.
14             Then, with respect to, let's see, Amy Mowl.
15             Just for the record, the Signal objections are to the
16    fourth bullet point under Amy Mowl Opinion No. 2, which reads:
17    "Laws protecting debtors in India are weak and poorly
18    enforced."
19             And the fourth bullet point under Amy Mowl, Opinion
20    No. 3, which reads:     "The Indian media frequently reports on
21    lender violence against borrowers, raising public awareness of
22    the consequences of failure to repay loans."
23             All right.    So, Ms. Graunke, did you find the pages
24    where these opinions are?
25             MS. GRAUNKE:    I did, Your Honor.     And I'm sorry for not


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 1    having brought my own copy.       If you would like yours back I am
 2    happy return it.     Thank you.
 3             So, first of all, Paragraph 18, references weak
 4    consumer protection laws in India.
 5             In Paragraph 26, she talks about anti-usury laws as
 6    being one of the few laws that exist that might protect a
 7    debtor in India.
 8             She also reference laws that might govern illegal
 9    practices to collect the debt, which is causing bodily harm to
10    someone.
11             Then, in Paragraph 35, she also references the few
12    criminal charges faced by money lenders, who act abusively
13    towards borrowers who are in default.
14             And, finally, I would just note that she also, in
15    Paragraph 4, is describing her qualifications and references
16    she has led research projects, and investing those financial
17    management and financial decision-making in Indian households.
18             And I know that she will be able to testify that one of
19    the things she has done is actually interviewed -- or
20    supervised the staff that has interviewed debtors about their
21    experiences with debt, and some of these issues do come up in
22    that.
23             We think it's a fair point.       I don't know if Your Honor
24    has particular questions on that bullet point or would like me
25    to move on to the other ones.


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 1             THE COURT:    I do want you to give me the paragraphs for
 2    the other one.    Then I do need my copy back.
 3             MS. GRAUNKE:    Sure.
 4             THE COURT:    For the Opinion No. 3.
 5             MS. GRAUNKE:    Sure.   I think this is encompassed
 6    largely in pages 17 through 20.       And -- sorry -- let me go
 7    on -- through to 21.
 8             And this is, you know -- and I understand that the
 9    Court has ruled that Ms. Mowl is not to discuss instances of
10    debtor suicide.     But there is -- and this is something we
11    argued in response to motion in limine -- there's also the
12    media attention that has come to when borrowers are taking --
13    I'm sorry -- when lenders are taking certain action -- abusive
14    actions to enforce loans or to enforce debts, that this is
15    reported in the media, in Indian media.        And this creates
16    awareness.    And this awareness is relevant to what people like
17    the plaintiffs might have known about.
18             And, in fact, Mr. Thangamani referenced that yesterday,
19    that he had read a newspaper account of harm coming to someone
20    who hadn't repaid his debt.
21             And it's important because it creates a perception in
22    the minds of people like the plaintiffs as to what might happen
23    to them.
24             And understanding the Court's ruling on the motion to
25    exclude, she will not be testifying as to specific plaintiffs.


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 1    That is clear.
 2             But we think that she should be able to testify as to
 3    what the Indian media reports on incidents like this, not
 4    referencing suicide.
 5             THE COURT:    Give me my copy, please.
 6             MS. GRAUNKE:    Sure.   Let me do that.
 7             THE COURT:    Give me a second.     I want to look at it.
 8             MS. GRAUNKE:    Sure.
 9             THE COURT:    All right.    Mr. Roux, do you want to
10    respond?
11             DR. ROUX:    Your Honor, I would just like to say, again,
12    like just before the break, that the ruling on the motion in
13    limine specifically excluded Ms. Mowl from testifying about the
14    specific factors that the individual plaintiffs would have
15    thought or known or would have influenced their decisions,
16    because she did not interview these plaintiffs.         I think that
17    the attempt to offer a general knowledge of what may be
18    available in India is just an attempt to back-door that
19    information in.
20             I also think it's beyond the scope of what Your Honor
21    did allow them to offer:      testimony which was very specific and
22    very concise to debt and collection practices in India.
23             With respect to the legal point, I would reiterate that
24    this is a legal opinion, and she is neither an attorney nor,
25    more specifically, an attorney practicing in India.          She's


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 1    merely an economist, and her research project that deals with
 2    debt collection surveys is just that.
 3             It's a survey.     It doesn't do any empirical research as
 4    to the legal history in India or into the full totality of what
 5    protections are available under Indian law.
 6             So I would just say that she lacks the competency to
 7    testify in the matter, altogether.
 8             THE COURT:    All right.    So I think that the -- I'm
 9    going to sustain the objection with respect to the laws.            She's
10    not an attorney or legal expert in the U.S. or India.          And I
11    think the opinion lacks adequate support, and I'm not sure,
12    even if she was a legal expert, that I would let her do it.
13             And then, with respect to the Indian media reports, you
14    know, I think that goes beyond what I said that she could
15    testify about.
16             And I also don't think that that -- that also doesn't
17    have adequate support.      So I'm granting Signal's objections.
18             So those -- the demonstratives cannot include those
19    bullet points, and she -- and the expert cannot testify about
20    that.
21             What I want to do now is go into my conference room to
22    talk about the jury charges.      There is a court reporter in
23    there, and we will maybe be a little more comfortable.
24             And so you all go quickly so we can do this and you
25    won't be here too late.


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 1             DR. ROUX:    Thank you, Your Honor.
 2             THE COURT:    I'll see you there.
 3             (Whereupon, the proceedings were concluded at
 4    5:47 p.m.)
 5                                   *    *   *
 6                            REPORTER'S CERTIFICATE
 7
 8            I, Terri A. Hourigan, Certified Realtime Reporter,
 9    Official Court Reporter for the United States District Court,
10    Eastern District of Louisiana, do hereby certify that the
11    foregoing is a true and correct transcript to the best of my
12    ability and understanding from the record of the proceedings in
13    the above-entitled and numbered matter.
14
15
16                                   s/Terri A. Hourigan             _____
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